                                                                                                                                                 ,.�.J, j .
                                                                                                                       P.02             l?-117        Job-501
                                                                                                         .J
                                    FROM Document 59-1 Filed 11/22/22
                    Case 4:22-cv-00343-Y                                                                                       Page 1 of 59 PageID 1589 P.2


·;, U.S. Depaftment of L1bor
    Office of Labor-Management
                                                  t"ec·:1- ORGANIZATION INFORMATION RE, . -i!tT I . Office of ftl!&nasemant Budget
  x" Standards Enforcemen,                                         FORM LM-1                        No, 44•RH 4
      Washington, D.C. 20216                                                                                                    ,,



                                                                                                                                                                                    ,'�\
                                       Labor-Management Reporting and Disclosure ·Act of 1959, as amended
                                                                      and
                                                      Executive Order 11491, as amended


                     READ INSTRUCTIONS CAREFULLY BEFORE PREPARING REPORT. SUBMIT THIS REPORT IN DUPLIC"TE.


              (A) CJ Postal Service Employees,        (BJ    Federal Government Employees
                                                                              □                      t:XccJ Employees In Prill.l?te Industry.
  1. rs THE MEMBERSHIP oF YOUR LABOR ORGANIZATION COMPOSED OF (CHECK AS MANY BOXES AS ARE APPLICABLE):
                                                                                                                              :                                I        ,
                                                             Subject to Executive Order 11491.                                :I
  z; NAME OF LABOR ORGANIZATION (As shown on charter, constitution, etc.) 3. ORGANIZATION FISCAL YEAR        4. FILE NUMBE:
                                                                                     ON:
                                                                                                    t"!�fh
  ASSOCIATION OF PROFESSIONAL FLIGHT                                                                                                     _j tj � (,.-/, �-, . 5'.
                                                                                                                                                              //,
                                                                                                ca

  ATTENDANTS                                                                                                                          S°f/)             1
                                                                                                  NOT FIX               YET

                                                                                                                                                                            State
                                                                                                8. CITY, COUNTY AND STATE WHERE CHARTERED TO O ERATE:
                                                                                                               City                     Count
  5. AFFILIATION
  NONE
                                                          7. DESIGNATION NUMBER
                                                                                                      ENTIRE u.s.A.
                                 (In care Of) NAME OF PERSON

  9, MAILING ADDRESS                  PATT GIBBS, PRESIDENT
     (For official mail to        NUMBER ANO STREET
     the organization)                P.O.
                                      ... • • Box·"'.
                                              ·•·•• · ••••-:5C'IJ.u:.   ·:-.· ··, .. '
                                                             J!1'$-.::J ..    • :-..li a\.;J


                                  BUILDING AND ROOM NUMBER (If anv)


                                  CITY                                                                                   STATE
                                      IRVING,TEXAS                       75062                                          TEXAS
 10. RE�S TO VERIFY THIS REPORT ARE KEPT AT:                         11, IS YOUR LABOR ORGANIZATION:                             12. EXPECTED ANNUAL R CEIPTS,
     (A)�ddress In Item 9.                                               (A) 0 A Local, Lodge, Branch, etc.                          (A) D Less than $30,9to,
     (Bl O Other (Show address with ZIP Code).                             (Bl O An Intermediate (a conference, general             (B):x::K's30,000 or mort
                                                                                 committee, joint board, system board, joint
                                                                                 council, district, etc.)
                                                                           (C) QCA National or International.




 13, LIST TflE NAMES ANO TITLES OF ALL YOUR PRESENT OFFICERS:

  �ATT GIBBS, PRESIDENT
  KATHY :KNOOP, VICE-PRESIDENT
  SECRETARY, KAREN CHENAULT
                                                                                                                      COLLEEN BRENNER, EAS!PBR� IV.
                                                                                                                       REPRESENTATIVE ,         r
                                                                                                                                                    . \
                                                                                                                                                                                .:>>,
  LINDA .PROSSER,, TRF.ASURER
  ROSS MONTGOMERY, WESTERN REPRESENTATIVE
                                                                                                                                     - : · -1.{  ro                                   {)')
                                                                                                                                                                              ��,>-J_�:;_:
                                                                                                                                                           I                           I
  SANDRA· HONAKER, CENTRAL DIVISION REPRESENTATIVE
  ARDELL CALLAS FASTERN DIVISION REPRESENTA     E                                                                                                   J; :1
 14, ENTER THE DATE OF YOUR ORGANIZATION'S NEXT REGULAR ELECTION OF OFFICERS:                                                                                                         •..,;
 ,1N�OT��F:::!IX�ED��YE�TL____________________M�o�n�th�.-=-===
                                                             - =============���===l==;a'.;::.;·;/
 ?5. AOOITIONAl..INl'ORMATtON
 ITEM NUMBER

                     IN RESPONSE TO QUESTICJ.i l.8 G (2) THE ANSWER IS:. THIS IS A J
                     FORMED NATIONAL ORGANIZATION. IT .BAS NOT YET ATTAINED CO :
                     BARGAINING RIGHTS 'UNDER APPLICABLE FEDERAL LAW. THE FIRS
                     OFFICES ARE PROVISIONAL AND WERE ELECTED BY DELEGATES FR         EACH   IGH'l'
                     BASE. WHEN THE ASSOCIATION ACHIE.VES BARGAINING RIGHTS UN�ER AP I­
                     �E FEDERAL LAW, PROVISION IS CONTAINED IN THE CONSTITU11ION             BY�
                     LAWS .IN SECTION 3 A.FOR THE CONDUCT OF·A SECRET BALLOT         BERSH P   ,.
                     ELECTION BY MAIL VOTES.




                                        (If more space Is needed, attach additional sheets with further st11tements, properly identified.)




                                                                                                                                                                    RETRY
                                                                                                                                                                     tit/ , cross
                                                                                                                                                                             in
                                                                                                                                                                            ove.
                                                                                                                                                                             15.)




 • See section on "Penalties" In accompanying Instructions.

 Form LM-1    (Rev. 1975)    Page 1                                                                                                                                          COPY 4
                                                                                                                                      APPENDIX P. 1 I
                MAR-18-�, I :26                                       P.03               Job-501
              t      Case  4:22-cv-00343-Y
                                      FROM Document 59-1 Filed 11/22/22    Page 2 of 59 PageID   1590 P.3
                       • 111 :29AM
                                                                                           . ..
       2
      \ ).      s"-1 998




                                                                                     (A) If one rate applies, enter here                   (B) If more than on              rate applies enter here
                                                                                                                                                  Minimum                          MaJ mum
16, LIST FEES AND DUES REQUIRED:
    (Complete each line. Enter "None" or "Not applicable" as appropriate.)
                                                                                                                                                                    I
    (1) Initiation fee or fees required from new members •••••••.•••..•..           $    JO. QO                                            $                                 $


    (2) Fees other than dues required from transfer members •••.•••• , ••            $   HONE                                              $                                 $


                                                                                     $   NaiE           per                                $                per_             $              per__

    (4) Regular dues or fees or other periodic pa)'ments required to remain
        a member of the reportlna labor organization (per year, mo., etc.)..         $   a.so           perMON'l'H                         $                per_l             $             per __


17. TWO COPIES OF YOUR LABOR ORGANIZATION'S CURRENT CONSTITUTION AND BYLAWS MUST BE FllED WITH 1 11S REPOR ". UNDER
    CERTAIN CIRCUMSTANCES (SEE INSTRUCTIONS FOR THIS ITEM) YOUR PARENT NATIONAL OR INTERNATIONAL I AY FILE C )PIES ON
    YOUR BEHALF.
     Is your parent national or International submitting copies on your behalf?                     □ Yes         xijtNo
     List below each document filed with this report.

          BILL OF RIGHTS AND CONSTITUTICll AND BY-LAWS OF THE ASSOCIATICti OF
          PROFESSICtiAL FLIGHT ATTENDANTS




                     FEDERAL-EMPLOYEE LABOR ORGANIZATIONS SUBJECT SOLELY TO EXECUTIVE ORDER 11491, AS A�ENDED,
                               '              ARE NOT REQUIRED TO COMPLETE ITEM 18.
18. INDICATE THE PROVISIONS MADE OR PROCEDURES FOLLOWED BY YOUR ORGANIZATION CONCERNING THE FOLLOWING MATTER :
    Please either (1) show In' the proper column where a detailed statement on the particular Item can be found In the documents sub1 ltted under tem 17, or
    (2) site such a detailed statement In Item 15 or if there Is not enough space in Item 15, submit the detailed statement on a separ1 e sheet attqhed to this
    form a,nd Identify the detailed statement In the proper column below.                                                                           I

                                                                                                          Page and section or paragraph                           Ide tffleatlon of ,,ther
                                                                      Item                                   number of constitution                                • d ailed statemi,,nt
                                                                                                                   or bylaws                                            I


    (A) Qu�llfications for or restrictions on membership


    (B) Levying of assessments ...•••.•..........•••..••.•..........••• , . , ....... , .                                          T'\7

    (C) Participation in insurance or other benefit plans ..•..................•....... ..


    (D) Authorization for disbursement of labor organization funds                                      Zll>'l'Tl"'T.'C'           TT.         C!'l.'I"'_    Ii

    (E) Audit of labor organization financial transactions


    (F) The c:alllng of regular and special meetings • , •• , .......•••...... , .....•..•.•.. ..i:
                                                                                                U
                                                                                                   :i&.'•Nl'u:.i.:_.1.A:1.J:.l
                                                                                                                       'DDT
                                                                                                                                   .a,,R,11,1.i;i.._-+--�----+----
                                                                                                                            �a.··Tu,.
                                                                                                                                  r"Zl 'CIT ,:,




          -- (2) If any officer was not elected in accordanc� with the provisions of the constitution
                  and bylaws which you have Identified in Item 18(G)(l) above, give a detailed
                 statement in Item 15 explaining the manner in which such officer was selected.          SEE ITEM
                                                                                                        -===-...._______;.;.:··__;;;;;.;;___-1----++----
                                                                                                                                 15                     --!----
           (3) All procedures which a member must follow to protest a defect in the election of
               officers (including not only all procedures for Initiating an election protest but        ARTICLE VII, SEC • D , r E
               also all procedures for subsequently appealing an adverse decision; e.g.. proce-
               dures for appeals to superior or parent bodies, if any.) •.•.•.••••.•.•.•••••••


    (H) Discipline or removal of officers or agents for breaches of their trust ••••••.•••••            ..,1,J���.!.�•CJ:.-1:1E...;tSlj7TL----.l---.U.----.I----                                      (


    (I)    Imposition of fines, suspensions, and expulsions of members lncludlrig the grounds
           for such action and any provisions made for notice, hearing, judgment on the                       I
           evidence, and appeal procedures .•••••...•• , ••• • . . •••••...•.• ••..• •• • • .•• •• •      1R_                              =I:....
                                                                                                        .....,....,'l'.:.:,I::.CLE=
                                                                                                                                  = ::.....V.:...:I ___+---*----+----
    (J)    Authorization for bargaining demands                                                          ARTICLE XVIII
     (I<) Ratification of contract terms                                                                 ARTICLE XVIII.

     (L) Authorization for strikes .....••.....•..•.....••......•..................•...                 ARTICLE XVIII
                                                                                                                                                                                        I
     (M) Issuance of work permits
                                                                                                        NOT APPLICABLE                                                                  I
Form LM-1          (Rev. 1975)            Page 2




           •.·- ..........···-· ·-·� ......   -.. - .... '····-··•·                                                                            APPENDIX P. 2
           '.#ix i-,i:·,.,.·.                                                                                     ':.:.7..��;: -.� ..•{�
11/11/22, 11:14 AM                                                                                                509-620 (LM2) 03/31/2022
                                          Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22                                              Page 3 of 59 PageID 1591
                                                                              FORM LM-2 LABOR ORGANIZATION ANNUAL REPORT
                                                                                                                                                                                             Form Approved
              U.S. Department of Labor
                                                                                                                                                                                   Office of Management and Budget
       Office of Labor-Management Standards
                                                         MUST BE USED BY LABOR ORGANIZATIONS WITH $250,000 OR MORE IN TOTAL ANNUAL RECEIPTS AND                                               No. 1245-0003
                Washington, DC 20210
                                                                                  LABOR ORGANIZATIONS IN TRUSTEESHIP                                                                       Expires: 01-31-2025



This report is mandatory under P.L. 86-257, as amended. Failure to comply mav result in criminal prosecution, fines, or civil penalties as provided by 29 U.S.C. 439 or 440.
                                                                     READ T HE INSTRUCTIONS CA !EFULLY BEFORE PREPARING THIS REPORT.


                                    1. FILE NUMBER            . PERIOD COVERED                            (a) AMENDED - Is this an amended report:                                                                    No
   For Official Use Only                 509-620             From          04/01/2021                     (b) HARDSHIP - Filed under the hardship procedures:                                                         No
                                                              hrough       03/31/2022                     (c) TERMINAL - This is a terminal report:                                                                   No



14. AFFILIATION OR ORGANIZATION NAME                                                                              8. MAILING ADDRESS (Type or print in capital letters)


                                                                      r
!ASSOCIATION OF PROFESSIONAL FLIGHT                                                                               First Name                                       Last Name
                                                                                                             I    Erik                                             Harris
5. DESIGNATION (Local, Lodge, etc.)                                       DESIGNATION NBR                    I
                                                                                                                  P.O Box - Building and Room Number
                                                                                                             I
17. UNIT NAME (if any)                                                                                       I



                                                                                                             II
                                                                                                                  Number and Street
                                                                                                                  1004 WEST EULESS BLVD

                                                                                                                  City
                                                                                                                  EULESS
9. Are your organization's records kept at its mailing address?                                     Yes
                                                                                                                  State                                            IP Code+ 4
                                                                                                                  !TX                                              60405009


 Each of the undersigned, duly authorized officers of the above labor organization, declares, under penalty of perjury and other applicable penalties of law, that all of the information submitted in this report (including
 information contained in any accompanying documents) has been examined by the signatory and is, to the best of the undersigned individual's knowledge and belief, true, correct and complete (See Section V on penalties
 in the instructions.)
170. SIGNED:            Julie F Hedrick                                                   PRESIDENT              71. SIGNED:            Erik D Harris                                                          TREASURER
 Date:        Aug 25, 2022            Telephone Number:               707-694-4552                               Date:      Aug 15, 2022              Telephone Number:                   817-540-0108

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                                                               APPENDIX P. 3
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                                                1/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022

ITEMS 10 THROUGH 21                       Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22                                    Page 4 of 59 PageID 1592
10. During the reporting period did the labor organization create or participate in the                 20. How many members did the labor organization have at the end of the reporting period?         23,440
administration of a trust or a fund or organization, as defined in the instructions, which     No       21. What are the labor organization's rates of dues and fees?
provides benefits for members or beneficiaries?                                                                                                     Rates of Dues and Fees
11(a). During the reporting period did the labor organization have a political action                                     Dues/Fees                     Amount             Unit      Minimum         Maximum
                                                                                               Yes
committee (PAC) fund?                                                                                   (a) Regular Dues/Fees                                   41 per      Month               41             41
11(b). During the reporting period did the labor organization have a subsidiary                         (b) Working Dues/Fees                                      per
organization as defined in Section X of these Instructions?
                                                                                               No
                                                                                                        (c) Initiation Fees                                     SC per          N//l
12. During the reporting period did the labor organization have an audit or review of its               (d) Transfer Fees                                          per
                                                                                               Yes
books and records by an outside accountant or by a parent body auditor/representative?                  (e) Work Permits                                           per
13. During the reporting period did the labor organization discover any loss or shortage
of funds or other assets? (Answer "Yes" even if there has been repayment or recovery.)
                                                                                               No
14. What is the maximum amount recoverable under the labor organization's fidelity
bond for a loss caused by any officer, employee or agent of the labor organization who       $500,000                                                                                                               I
handled union funds?
15. During the reporting period did the labor organization acquire or dispose of any
                                                                                               No
assets in a manner other than purchase or sale?
16. Were any of the labor organization's assets pledged as security or encumbered in
any way at the end of the reporting period?
                                                                                               No
17. Did the labor organization have any contingent liabilities at the end of the reporting
period?
                                                                                               No
18. During the reporting period did the labor organization have any changes in its
constitution or bylaws, other than rates of dues and fees, or in practices/procedures          No
listed in the instructions?
19. What is the date of the labor organization's next regular election of officers?          02/2024

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                                                     APPENDIX P. 4
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                                2/52
11/11/22, 11:14 AM                                                                509-620 (LM2) 03/31/2022
                           Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22
STATEMENT A - ASSETS AND LIABILITIES                                                                  Page 5 of 59 PageID 1593                                FILE NUMBER: 509-620




                                                                                      Schedule               Start of Reporting Period              End of Reporting Period
                                                                     ASSETS
                                                                                       Number                           ( A)                                  ( B)
                                     22. Cash                                                                                        $3,052,946                            $2,976,454
                                     23. Accounts Receivable                              1                                            $230,333                               $39,706
                                     24. Loans Receivable                                 2                                                  $0                                    $0
           ASSETS                    25. U.S. Treasury Securities                                                                            $0                                    $0
                                     26. Investments                                      5                                         $15,959,205                           $16,758,449
                                     27. Fixed Assets                                     6                                            $386,221                              $494,483
                                     28. Other Assets                                     7                                             $17,486                               $37,026
                                     29. TOTAL ASSETS                                                                              $19,646,191                           $20,306,118




                                                                                      Schedule               Start of Reporting Period              End of Reporting Period
                                                                    LIABILITIES
                                                                                       Number                           ( A)                                  ( B)
                                     30. Accounts Payable                                8                                               $840,257                          $1,256,666
          LIABILITIES                31. Loans Payable                                   9                                                     $0                                  $0
                                     32. Mortgages Payable                                                                                     $0                                  $0
                                     33. Other Liabilities                               10                                                    $0                                  $0
                                     34. TOTAL LIABILITIES                                                                               $840,257                          $1,256,666




                                    !35. NET ASSETS                                                                                $18,805,93�                           $19,049,45�


Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                               APPENDIX P. 5
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                      3/52
11/11/22, 11:1 4 AM                                                                   509-620 (LM 2) 03/31/2022
STATEMENT B - RECEIPTS AND Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22
                           DISBURSEMENTS                                                                     Page 6 of 59 PageID 1594                     FI LE NUMBER: 509-620

                                 CASH RECEIPTS              SCH   AMOUNT                                     CASH DISBURSEMENTS                     SCH         AMOUNT
 36. Dues and Agency Fees                                           $11,283,06S 50. Representational Activities                                      15            $6,213,809
 37. Per Capita Tax                                                          $C 51. Political Activities and Lobbying                                16             $217,805
138. Fees, Fines, Assessments, Work Permits                                  $C 52. Contributions, Gifts, and Grants                                 17                $7,650
 39. Sale of Supplies                                                        $C 53. General Overhead                                                 18            $1,677,215
140. Interest                                                         $298,69� 54. Union Administration                                              19            $1,804,774
141. Dividends                                                               $C 55. Benefits                                                         20             $643,739
142. Rents                                                                   $C 56. Per Capita Tax                                                                         $0
143. Sale of Investments and Fixed Assets                    3          $20,657 57. Strike Benefits                                                                        $0
144. Loans Obtained                                          9               $C 58. Fees, Fines, Assessments, etc.                                                         $0
145. Repayments of Loans Made                                2               $C 59. Supplies for Resale                                                                    $0
146. On Behalf of Affiliates for Transmittal to T hem                        $C 60. Purchase of Investments and Fixed Assets                         4              $966,954
147. From Members for Disbursement on Their Behalf                           $C 61. Loans Made                                                       2                     $0
 }tl. Omer KeceIpts                                     I   14�
                                                                -
                                                                             :PlJlt '2. Repayment of Loans Obtained                                  9                     $0
 rn. TOTAL RECEIPTS                                                 $11,602,419IE B. To Affiliates of Funds Collected on Their Behalf                                      $0
                                                                                  f, 4. On Behalf of Individual Members                                                    $0
                                                                                  65. Direct Taxes                                                                  $146,965

                                                                                      66. Subtotal                                                                  $11,678,911
                                                                                      67. Withholding Taxes and Payroll Deductions
                                                                                       67a. Total Withheld                     I         $463,094
                                                                                       67b. Less Total Disbursed               I         $463,094
                                                                                       67c. Total Withheld But Not Disbursed
                                                                                      68. TOTAL DISBURSEMENTS                                                       $11,678,911

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                                                                                                                                        APPENDIX P. 6
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                4/52
11/11/22, 11:14 AM                                                                      509-620 (LM2) 03/31/2022
                         Case 4:22-cv-00343-Y
SCHEDULE 1 - ACCOUNTS RECEIVABLE AGING SCHEDULE Document 59-1 Filed 11/22/22                                Page 7 of 59 PageID 1595                              FILE NUMBER: 509-620

                                                                                                                   Total Account       90-180 Days        180+ Days        Liquidated Account
                                                            Entity or Individual Name
                                                                                                                    Receivable           Past Due          Past Due            Receivable
                                                                        (A)
                                                                                                                         (B)                (C )              (D)                  (E)
!American Airlines Payloss                                                                                                   $37,117
[Total of all itemized accounts receivable                                                                                   $37,117                 $(               $0                  $0
[Totals from all other accounts receivable                                                                                    $2,589
rrotals (Total of Column (B) will be automatically entered in Item 23, Column(B))                                            $39,706                 $(               $0                  $0

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                                                                                                                                            APPENDIX P. 7
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                              5/52
11/ 11/22, 11:14 AM                                                                                      509-620 (LM2 ) 03/31/2022
                          Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22
SCHEDULE 2 - LOANS RECEIVABLE                                                                                                      Page 8 of 59 PageID 1596                                FILE NUMBER: 509-620

   List below loans to officers, employees, or members which at any time during the reporting       Loans              Loans M ade           Repayments Received During Period                   Loans
     period exceeded $250 and list all loans to business enterprises regardless of amount.      Outstanding at         During Period                                                          Outstanding at
                                                A
                                                ( )                                             Start of Period             (C)             Cash                     Other ThanCash           End of Period
                                                                                                       B
                                                                                                       ( )                                  ( )( 1)
                                                                                                                                            0                                  (0)(2                ( E)

 Name: None
 Purpose: None                                                                                                    $(                   $0                    $0                       $C                         $0
!Security: None
[Terms of Repayment: None
[Total of loans not listed above
rrotal of all lines above                                                                                         $(                   $0                    $0                       $C                         $0
                                                                                                  ltem24                  ltem61                ltem45                 Item69                   ltem24
rrotals will be automatically entered in...
                                                                                                 Column (A)                                                        with Explanation            Column (B)

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                                                  APPENDIX P. 8
https://olmsap ps.dol.gov/query/orgReport.do                                                                                                                                                                   6 / 52
11/11/22, 11:14 AM                                                                                     509-620 (LM2) 03/31/2022
                           Case 4:22-cv-00343-Y
SCHEDULE 3 - SALE OF INVESTMENTS AND FIXED ASSETS Document 59-1 Filed 11/22/22                                                 Page 9 of 59 PageID 1597                                FILE NUMBER: 509-620

                     Description (if land or buildings, give location)                       Cost                       Book Value                      Gross Sales Price             Amount Received
                                            (A)                                               (B)                          (C)                                 (D)                          (E)
Net GAIN FROM SALE OF SECURITIES                                                                     $20,657                          $20,657                               $20,657                  $20,657
rrotal of all lines above                                                                            $20,657                          $20,657                               $20,657                  $20,657
                                                                                                                                                 Less Reinvestments                                       $0
                                                                         (The total from Net Sales Line will be automatically entered in Item 43)Net Sales                                           $20,657

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                                                      APPENDIX P. 9
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                             7/52
11/11/22, 11:14 AM                                                                                           509-620 (LM2) 03/31/2022
                          Case 4:22-cv-00343-Y
SCHEDULE 4 - PURCHASE OF INVESTMENTS             Document 59-1 Filed 11/22/22
                                     AND FIXED ASSETS                                                                               Page 10 of 59 PageID 1598                            FILE NUMBER: 509-620

                                 Description (if land or buildings, give location)                                               Cost                            Book Value                Cash Paid
                                                        (A)                                                                       (B)                               (C)                       (D)
COMPUTERS                                                                                                                                  $168,135                           $168,135                 $168,135
rTELEPHONE EQUIPMENT                                                                                                                        $29,519                            $29,519                  $29,519
NET LOSS FROM SALE OF ASSETS                                                                                                               $769,300                           $769,300                 $769,300
[Total of all lines above                                                                                                                  $966,954                           $966,954                 $966,954
                                                                                                                                                       Less Reinvestments                                    $0
                                                                          (The total from Net Purchases Line will be automatically entered in Item 60.)Net Purchases                                   $966,954

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                                                        APPENDIX P. 10
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                                8/52
11/11/22, 11:14 AM                                                                                           509-620 (LM2) 03/31/2022
SCHEDULE 5 - INVESTMENTS Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22                                                          Page 11 of 59 PageID 1599              FILE NUMBER: 509-620

                                                                                 Description                                                                              Amount
                                                                                      (A)                                                                                   (B)
                                                                            Marketable Securities
IA. Total Cost                                                                                                                                                                      $16,758,449
B. Total Book Value                                                                                                                                                                 $16,758,449
C. List each marketable security which has a book value over $5,000 and exceeds 5% of Line B.
!Various Investments from Brokerage Statements                                                                                                                                      $16,758,449
                                                                              Other Investments
D. Total Cost
E. Total Book Value
F. List each other investment which has a book value over $5,000 and exceeds 5% of Line E. Also, list each subsidiary for which separate reports are attached.
G. Total of Lines Band E (Total will be automatically entered in Item 26, Column(B))                                                                                                $16,758,44�

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                                                 APPENDIX P. 11
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                9/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022
SCHEDULE 6 - FIXED ASSETS Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22                                                Page 12 of 59 PageID 1600                      FILE NUMBER: 509-620

                                                                                                                     Total Depreciation or
                                      Description                                        Cost or Other Basis                                      Book Value                 Value
                                                                                                                      Amount Expensed
                                         (A)                                                     (B)                                                 (D)                      (E)
                                                                                                                              (C)
IA. Land (give location)
 Land 1 :     1004 West Euless Blvd., Euless TX 76040                                                    $135,000                                              $135,000               $135,000
 B. Buildings (give location)
 Building 1 :     1004 West Euless Blvd., Euless TX 76040                                              $1,393,113                    $1,267,485                $125,627               $125,627
 C. Automobiles and Other Vehicles                                                                        $96,416                       $96,416                      $0                     $0
 D. Office Furniture and Equipment                                                                     $1,648,661                    $1,414,805                $233,856               $233,856
E. Other Fixed Assets
 F. Totals of Lines A through E (Column(D) Total will be automatically entered in Item
                                                                                                        $3,273,19C                   $2,778,70€                $494,483               $494,483
127, Column(B))

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                                                                                                                                                       APPENDIX P. 12
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                              10/52
11/11/22, 11:14 AM                                                                509-620 (LM2) 03/31/2022
SCHEDULE 7 - OTHER ASSETSCase 4:22-cv-00343-Y Document 59-1 Filed 11/22/22                           Page 13 of 59 PageID 1601   FILE NUMBER: 509-620

                                                                    Description                                                     Book Value
                                                                        (A)                                                            (B)
Lease Deposits                                                                                                                                      $50(
Prepaid Expenses                                                                                                                                 $36,52€
Total (Total will be automatically entered in Item 28, Column(B))                                                                                $37,02€

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                                                                                                                        APPENDIX P. 13
https://olmsapps.dol.gov/query/orgReport.do                                                                                                        11/52
11/11/22, 11:14 AM                                                                    509-620 (LM2) 03/31/2022
                         CaseAGING
SCHEDULE 8 - ACCOUNTS PAYABLE 4:22-cv-00343-Y
                                   SCHEDULE   Document 59-1 Filed 11/22/22                               Page 14 of 59 PageID 1602                             FILE NUMBER: 509-620

                                                                                                           Total A ccount      90-180 Days        180+ Days Past      Liquidated A ccount
                                                       Entity or Individual Name
                                                                                                              Payable           Past Due               Due                 Payable
                                                                   (A)
                                                                                                                 (B)               (C )                (D )                   (E)
JAHREIS, CHERYL                                                                                                       $1,242                 $C                    $(                  $0
ETHIX VENTURES, INC                                                                                                   $5,280                 $C                    $(                  $(
MARRIOTT BUSINESS SERVICES                                                                                           $64,851                 $C                    $(                  $(
ZEEK INTERACTIVE                                                                                                      $7,138                 $C                    $(                  $(
OSBORNE LAW OFFICES                                                                                                   $2,610                 $C                    $(                  $(
AMERICAN AIRLINES PAYLOSS                                                                                         $1,059,656                 $C                    $(                  $(
WELLS FARGO ADVISORS                                                                                                 $97,947                 $C                    $(                  $(
ANAGO OF DALLAS                                                                                                       $1,287                 $C                    $(                  $(
TEXICAN COURT                                                                                                         $1,921                 $C                    $(                  $(
CHETU, INC                                                                                                           $10,000                 $C                    $(                  $(
TXU ENERGY                                                                                                            $1,847                 $C                    $(                  $(
Total f or all itemized a ccounts payable                                                                         $1,253,779                 $C                    $(                  $(
trotal from all other a ccounts payable                                                                               $2,887                 $C                    $(                  $(
Totals {Total for C olumn(B) will be automati cally entered in Item 30, C olumn(D))                               $1,256,666                 $C                    $(                  $(

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                                                                                                                                         APPENDIX P. 14
https://olmsapps.dol.gov/query/orgRep ort.do                                                                                                                                       12/52
11/11/22, 11 :14 AM                                                       509-620 (LM2) 03/31/2022
                         Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22
SCHEDULE 9 - LOANS PAYABLE                                                                       Page 15 of 59 PageID 1603                                      FILE NUMBER: 509-620

                                                                                                                    Repayment             Repayment
                                    Source of Loans Payable at Any    Loans Owed at          Loans Obtained                                                        Loans Owed at
                                                                                                                   During Period         During Period
                                   Time During the Reporting Period   Start of Period         During Period                                                         End of Period
                                                                                                                       Cash             Other Than Cash
                                                  (A)                        (B)                   (C)                                                                   (E)
                                                                                                                       (D)(1)                 (D)(2)
None                                                                                    $C                    $C                   $0                      $C                       $(
rrotal Loans Payable                                                                    $0                    $C                   $0                      $C                       $(
                                                                         Item 31                 ltem44               Item 62               Item 69                   Item 31
�otals will be automatically entered in...
                                                                        Column (C)                                                      with Explanation             Column (D)

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                    APPENDIX P. 15
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                       13/52
11/11/22, 11:14 AM                                                                                   509-620 (LM2) 03/31/2022
                           Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22
SCHEDULE 10 - OTHER LIABILITIES                                                                                         Page 16 of 59 PageID 1604            FILE NUMBER: 509-620

                                                                                       Description                                                  Amount at End of Period
                                                                                           (A)                                                                (B)
 None                                                                                                                                                                           $(
 Total Other Liabilities (Total will be automatically entered in Item 33, Column(D))                                                                                            $(

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                                                                                                                                           APPENDIX P. 16
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                   14/52
11/11/22, 11 :14 AM                                                                                          509-620 (LM2) 03/31/2022
 SCHEDULE 11 -ALL OFFICERSCase 4:22-cv-00343-Y
                          AND DISBURSEMENTS      Document 59-1 Filed 11/22/22
                                            TO OFFICERS                                                                          Page 17 of 59 PageID 1605                                    FILE NUMBER: 509-620

                                                                                      (D)                        ( E)                  (F)                             (G)                           (H)
                                                                                  Gross Salary               Allowances      Disbursements for Official               Other                         TOTAL
                                    (B)                  (C)
                                                                                 Disbursements                Disbursed              Business             Disbursements not reported in
               (A)
              Name                  Title               Status
                                                                                  (before any                                                                    (D) through (F)
                                                                                   deductions)
 A    HEDRICK, JULIE
 B    NATIONAL PRESIDENT                                                                  $128,854                                              $5,041                                                      $133,895
 C    C
                                                     Schedule 16
      Schedule15                                                                                 Schedule 17                         Schedule 18                            Schedule 19
 I                                             90%   Political Activities and                                                                                                                               10%
      Representational Activities                                                                Contributions                       General Overhead                       Administration
                                                     Lobbying
 A    SALAS, LARRY
 B    NATIONAL VICE PRESIDENT                                                              $122,311                                             $5,53                                                       $127,847
IC    C
                                                      chedule 16
      Schedule15                                                                                 Schedule 17                         Schedule 18                             Schedule 19
 I                                             80%   Political Activities and           10%                                                                                                                 10%
      Representational Activities                                                                Contributions                       General Overhead                         dministration
                                                     Lobbying
 A    BLACK, JOSH
 B    NATIONAL SECRETARY                                                                  $116,10                                               $8,36                                                       $124,468
 C    C
                                                     Schedule 16
      Schedule15                                                                                 Schedule 17                         Schedule 18                            Schedule 19
 I                                             30%   Political Activities and           10%                                                                                                                 60%
      Representational Activities                                                                Contributions                       General Overhead                       Administration
                                                     Lobbying
 A    HARRIS, ERIK
 B    NATIONAL TREASURER                                                                  $116,255                                              $7,32                                                       $123,579
      C

                                                                                    1                                                                                                                   1
IC
                                                       chedule 16
 I
      Schedule 15
                                               10%   f;olitical Activities and          10%      Ichedule_ 17                        lchedule 18                            1�hedule 19                     80%
     --
      Representational Activities
       ljt:t: , KUl:SI N
                                                      ohhvino
                                                                                                 Contributions                       General Overhead                        dministration


      BASE PRESIDENT                                                                          $48,635                                                                                                        $53,39
      C
                                                                                                 Schedule 17                         Schedule 18                             Schedule 19
                                               90%                                                                                                                                                          10%
      Representational Activities                                                                Contributions                       General Overhead                         dministration
      DE ROXTRA , AMBER
      BASE PRESIDENT                                                                                                                                                                                         $74,48
      C
      Schedule15                                                                                 Schedule 17                          chedule 18
                                               90%                                                                                                                                                          10%
      Representational Activities                                                                Contributions                       General Overhead
      HAZELWOOD , SCOTT
 B    BASE PRESIDENT                                                                          $64,26                                            $3,350                                                       $67,61
      C
                                                      chedule 16
      Schedule15                                                                                 Schedule 17                         Schedule 18
                                               90%   Political Activities and                                                                                                                               10%
      Representational Activities                                                                Contributions                       General Overhead
                                                     Lobbying
      KASWINKEL, KIMBERLY
      BASE PRESIDENT                                                                          $87,11                                            $3,670                                                       $90,78
      C
      Schedule15                                                                                 Schedule 17                         Schedule 18
                                               90%                                                                                                                                                          10%
      Representational Activities                                                                Contributions                       General Overhead
      MILENKOVIC , AMY
 B    BASE PRESIDENT                                                                                                                                                                                         $43,73
      C
                                                                                                                                                                    APPENDIX P. 17
https://olmsapps.dol.gov/que ry/orgReport.do                                                                                                                                                                   15/52
11/11/22, 11:14 AM                                                                                            509-620 (LM2) 03/31/2022



                                                                                                                                                                                                                  -11
                         -,-                                                -- Filed 11/22/22
                                            Case 4:22-cv-00343-Y Document 59-1        \'-'/                       \'-/
                                                                                                                                    Page I18 of 59 PageID 1606
                                                                                                                                           \I                             \U/
                                                                                                                                                                                                  -    \II)

                                                                                  Gross Salary                Allowances        Disbursements for Official               Other                        TOTAL
              (A)                   (B)                   (C)
             Name                   Title                Status                  Disbursements                 Disbursed                Business             Disbursements not reported in
                                                                                   (before any                                                                      (D) through (F)
                                                                                   deductions)
                                                      Schedule 16
      Schedule 15                                                                                 Schedule 17                           Schedule 18                             Schedule 19
I                                               90%   Political Activities and                                                                                                                                  10%
      Representational Activities                                                                 Contributions                         General Overhead                        Administration
                                                      Lobbying
A     NIKIDES , JOHN
B     BASE PRESIDENT                                                                           $111,35C                                            $5,731                                                      $117,081
IC    C
                                                       chedule 16
      Schedule 15                                                                                 Schedule 17                           Schedule 18                             Schedule 19
I                                               90%   Political Activities and                                                                                                                                  10%
      Representational Activities                                                                 Contributions                         General Overhead                         dministralion
                                                      Lobbying
A     PENNEL , JOHN
B     BASE PRESIDENT                                                                            $72,94                                             $6,030                                                       $78,977
C     C
                                                      Schedule 16
      Schedule 15                                                                                 Schedule 17                           Schedule 18                             Schedule 19
I                                               90%   Political Activities and                                                                                                                                  10%
      Representational Activities                                                                 Contributions                         General Overhead                        Administration
                                                      Lobbying
A     ROSS , ROBERT
B     BASE PRESIDENT                                                                            $20,252                                            $1,69�                                                       $21,948
IC    N
                                                       chedule 16
      Schedule 15                                                                                 Schedule 17                           Schedule 18                             Schedule 19
I                                               90%   Political Activities and                                                                                                                                  10%
      Representational Activities                                                                 Contributions                         General Overhead                         dministration
                                                      Lobbying
A     SANTANA , CHRISTIAN
B     BASE PRESIDENT                                                                            $76,16                                             $2,55                                                        $78,717
C     C
                                                      Schedule 16
      Schedule 15                                                                                 Schedule 17                           Schedule 18                             Schedule 19
I                                               90%   Political Activities and                                                                                                                                  10%
      Representational Activities                                                                 Contributions                         General Overhead                        Administration
                                                      Lobbying
A     rrRAUTMAN , RANDY
B     BASE PRESIDENT                                                                           $119,65E                                            $5,47E                                                      $125,132
�
'-'   C
                                                       chedule 16
      Schedule 15                                                                                 Schedule 17                           Schedule 18                             Schedule 19
I                                               90%   Political Activities and                                                                                                                                  10%
      Representational Activities                                                                 Contributions                         General Overhead                         dministration
                                                      Lobbying
A WROBLE , SUSAN
B BASE PRESIDENT                                                                               $106,38                                             $6,56                                                       $112,950
C C
                                                      Schedule 16
      Schedule 15                                                                                 Schedule 17                           Schedule 18                             Schedule 19
I                                               90%   Political Activities and                                                                                                                                  10%
      Representational Activities                                                                 Contributions                         General Overhead                        Administration
                                                      Lobbying
Total Officer Disbursements                                                                   $1,299,30                    $(                     $75,321                                    $0               $1,374,621
Less Deductions
Net Disbursements                                                                                                                                                                                             $1,374,621

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                                                                                                                                                                       APPENDIX P. 18
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                                        16/52
11/11/22, 11:14 AM                                                                                        509-620 (LM2) 03/31/2022
                         Case
SCHEDULE 12 - DISBURSEMENTS    4:22-cv-00343-Y Document 59-1 Filed 11/22/22
                            TO EMPLOYEES                                                                                     Page 19 of 59 PageID 1607                                  FILE NUMBER: 509-620

                                                                                     (D)                    (E)                       (F )                         (G)                         (H)
                                                                                Gross Salary        Allowances Disbursed    Disbursements for Official   Other Disbursements not              TOTAL
             (A )                 (B )                   (C)
                                                                               Disbursements                                        Business                   reported in
            Name                  TIiie              Other Payer
                                                                                 (before any                                                                 (D) through (F)
                                                                                 deductions)
A   CLIATT , MICHELLE
B   SBA AST. ADMINISTRATOR                                                                $46,171                                                                                                     $46,171
C   NONE
                                                    Schedule 16
    Schedule 15                                                                           Schedule 17                            Schedule 18                           Schedule 19
I                                             80%   Political Activities and       10%                                                                                                                10%
    Representational Activities                                                           Contributions                          General Overhead                      Administration
                                                    Lobbying
A   COOPER , ROSEMARY
B   EXECUTIVE ASSISTANT                                                                   $59,83                                                                                                      $59,833
C   NONE
                                                     chedule 16
    Schedule 15                                                                           Schedule 17                            Schedule 18                           Schedule 19
I                                             30%   Political Activities and       10%                                                                                                                60%
    Representational Activities                                                           Contributions                          General Overhead                       dministration
                                                    Lobbying
A   COURTNEY , USA
B   GENERAL SECRETARY                                                                     $25,35                                                                                                      $25,355
C   NONE
                                                    Schedule 16
    Schedule 15                                                                           Schedule 17                            Schedule 18                           Schedule 19
I                                             30%   Political Activities and       10%                                                                                                                60%
    Representational Activities                                                           Contributions                          General Overhead                      Administration
                                                    Lobbying
A   CZABAJSZKI , JODI
B   EXECUTIVE ASSISTANT                                                                   $57,81                                                                                                      $57,816
C   NONE
                                                     chedule 16
    Schedule 15                                                                           Schedule 17                            Schedule 18                           Schedule 19
I                                             30%   Political Activities and       10%                                                                                                                60%
    Representational Activities                                                           Contributions                          General Overhead                       dministration
                                                    Lobbying
A   DONNETTE , IVY
B   GRAPHICS                                                                              $62,23S                                                                                                     $62,238
C   NONE
                                                    Schedule 16
    Schedule 15                                                                           Schedule 17                            Schedule 18                           Schedule 19
I                                             30%   Political Activities and       10%                                                                                                                60%
    Representational Activities                                                           Contributions                          General Overhead                      Administration
                                                    Lobbying
A EARLY , RACHEL
B �CCOUNTING CLERK                                                                        $19,981                                                                                                     $19,981
C NONE
                                                     chedule 16
    Schedule 15                                                                           Schedule 17                             chedule 18                           Schedule 19
I                                             10%   Political Activities and       10%                                                                                                                80%
    Representational Activities                                                           Contributions                          General Overhead                       dministration
                                                    Lobbying
A   HOOVER , DEBBIE
B   SENIOR ACCOUNTANT                                                                     $60,501                                                                                                     $60,501
C   NONE
                                                     chedule 16
    Schedule 15                                                                           Schedule 17                            Schedule 18                           Schedule 19
I                                             10%   Political Activities and       10%                                                                                                                80%
    Representational Activities                                                           Contributions                          General Overhead                       dministration
                                                    Lobbying
A   MARKO , ELIZABETH
B   EXECUTIVE ASSISTANT                                                                   $58,79                                                                                                      $58,796
C   NONE
                                                    Schedule 16
    Schedule 15                                                                           Schedule 17                            Schedule 18                           Schedule 19
I                                             30%   Political Activities and       10%                                                                                                                60%
    Representational Activities                                                           Contributions                          General Overhead                      Administration
                                                    Lobbying
A   NIKITAS , MARGOT
B   �HORNEY                                                                               $90,054                                                $610                                                 $90,664
�   NONE
                                                                                                                                                               APPENDIX P. 19
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                             17/52
11/11/22, 11:14 AM                                                                                         509-620 (LM2) 03/31/2022
                                           Case 4:22-cv-00343-Y Document
                                                                     (D) 59-1 Filed 11/22/22
                                                                                     (E)                                      Page 20  (F) of 59 PageID 1608      ( G)                  (H)
                                                                                 Gross Salary        Allowances Disbursed    Disbursements for Official Other Disbursements not        TOTAL
              (A)                  ( B)                  (C)
             Name                  Title              Other Payer               Disbursements                                        Business                 reported in
                                                                                 (before any                                                                (D) through (F)
                                                                                  deductions)
                                                     Schedule 16
     Schedule15                                                                            Schedule17                             Schedule18                          Schedule19
I                                              80%   Political Activities and       10%                                                                                                        10%
     Representational Activities                                                           Contributions                          General Overhead                    Administration
                                                     Lobbying
A    RAMOS, KIMBERLY
B    SBA ADMINISTRATOR                                                                     $46,82C                                                                                              $46,820
IC   NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                             Schedule18                          Schedule19
I                                              80%   Political Activities and       10%                                                                                                        10%
     Representational Activities                                                           Contributions                          General Overhead                     dministration
                                                     Lobbying
A    RAY, DAVID
B    SYSTEMS MANAGER                                                                       $85,05                                                                                               $85,054
C    NONE
                                                     Schedule16
     Schedule15                                                                            Schedule17                             Schedule18                          Schedule19
I                                                    Political Activities and                                                                                 100%
     Representational Activities                                                           Contributions                          General Overhead                    Administration
                                                     Lobbying
A    REINO, ERIKA
B    MEMBERSHIP SECRETARY                                                                  $46,50                                                                                               $46,505
IC   NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                             Schedule18                          Schedule19
I                                              30%   Political Activities and       10%                                                                                                        60%
     Representational Activities                                                           Contributions                          General Overhead                     dministration
                                                     Lobbying
A    REYES, BRITTANY
B    OFFICE COORDINATIOR                                                                   $50,597                                                                                              $50,597
C    NONE
                                                     Schedule16
     Schedule15                                                                            Schedule17                             Schedule18                          Schedule19
I                                              10%   Political Activities and                                                                                 10%                              80%
     Representational Activities                                                           Contributions                          General Overhead                    Administration
                                                     Lobbying
A    REYES, ELIZABETH
B    DUES SECRETARY                                                                        $47,12                                                                                               $47,120
C    NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                             Schedule18                          Schedule19
I                                              30%   Political Activities and       10%                                                                                                        60%
     Representational Activities                                                           Contributions                          General Overhead                     dministration
                                                     Lobbying
A rrHEDFORD, CHRISTOPHER
B    SENIOR ACCOUNTANT                                                                     $76,855                                                                                              $76,855
C    NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                             Schedule18                          Schedule19
I                                              10%   Political Activities and       10%                                                                                                        80%
     Representational Activities                                                           Contributions                          General Overhead                     dministration
                                                     Lobbying
A WICHMAN , KAREN
B    GENERAL SECRETARY                                                                     $46,99                                                                                               $46,998
C    NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                             Schedule18                          Schedule19
I                                              30%   Political Activities and       10%                                                                                                        60%
     Representational Activities                                                           Contributions                          General Overhead                     dministration
                                                     Lobbying
A    HARTSHORN JR, PAUL
B    DEPARTMENT CHAIR                                                                     $101,832                                            $4,523                                           $106,355
C    NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                             Schedule18                          Schedule19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                          General Overhead                     dministration
                                                     Lobbying


                                                                                                                                                              APPENDIX P. 20
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                       18/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022
                                            Case 4:22-cv-00343-Y Document
                                                                      (D) 59-1 Filed 11/22/22
                                                                                      (E)                                     Page 21  (F) of 59 PageID 1609      (G)                   (H)
                                                                                  Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
               (A)                  (B )                   (C)
              Name                  Title              Other Payer               Disbursements                                       Business                 reported in
                                                                                   (before any                                                              (D) through (F)
                                                                                   deductions)
A MALOOL, MICHAEL
B     DEPARTMENT CHAIR                                                                      $70,566                                           $6,691                                            $77,257
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A MCMILLAN, MARTI
B     DEPARTMENT CHAIR                                                                      $73,83                                            $3,4                                              $77,303
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                            chedule 18                         Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                      Lobbying
A     PECKSON, BELLIA
B     DEPARTMENT CHAIR                                                                     $101,32S                                           $4,400                                           $105,728
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     PETERSEN , JEFF
B     DEPARTMENT CHAIR                                                                      $97,69                                            $4,62                                            $102,320
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A SHARP, CATHERINE
B     DEPARTMENT CHAIR                                                                      $60,652                                           $4,400                                            $65,052
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A STUBBLEFIELD, VIVIAN
B     DEPARTMENT CHAIR                                                                      $42,52                                            $3,10                                             $45,633
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A v\LLEN, GRACE
B     REGIONAL REP                                                                          $90,10                                            $5,290                                            $95,395
"
'-'   NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     BADER, NICHOLAS
B     REGIONAL REP                                                                          $65,41                                            $6,050                                            $71,468
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               80%   Political Activities and       10%                                                                                                        10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     BOSEWELL , AUN
B     REGIONAL REP                                                                          $86,56                                            $3,98                                             $90,545
IC    NONE


                                                                                                                                                              APPENDIX P. 21
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                       19/52
11/11/22, 11:14 AM                                                                                     509-620 (LM2) 03/31/2022
                                           Case 4:22-cv-00343-Y Document
                                                                     ( D) 59-1 Filed 11/22/22
                                                                                      (E)                                    Page 22  (F) of 59 PageID 1610      ( G)                  (H)
                                                                                 Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
              (A)                  ( B)                  ( C)
             Name                  Title              Other Payer               Disbursements                                       Business                 reported in
                                                                                 (before any                                                               (D) through (F)
                                                                                  deductions)
                                                     Schedule 16
     Schedule 15                                                                           Schedule17                            Schedule 18                         Schedule19
I                                              80%   Political Activities and       10%                                                                                                       10%
     Representational Activities                                                           Contributions                         General Overhead                    Administration
                                                     Lobbying
A    GENTILE, MARK
B    REGIONAL REP                                                                          $88,085                                           $4,349                                            $92,434
IC   NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                            Schedule 18                         Schedule19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                     Lobbying
A    LEWIS, RAYMOND
B    REGIONAL REP                                                                          $61,38                                              $78                                             $62,171
C    NONE
                                                     Schedule16
     Schedule15                                                                            Schedule17                            Schedule 18                         Schedule19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                         General Overhead                    Administration
                                                     Lobbying
A    NAPPER, CATHERINE
B    REGIONAL REP                                                                          $97,65                                            $4,3                                             $102,051
IC   NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                            Schedule 18                         Schedule19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                     Lobbying
A WALTERS, ROBYN
B    REGIONAL REP                                                                          $79,417                                           $4,894                                            $84,311
C    NONE
                                                     Schedule16
     Schedule15                                                                            Schedule17                            Schedule 18                         Schedule19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                         General Overhead                    Administration
                                                     Lobbying
A V,.MERINE, ALLAN
B    REP                                                                                   $33,67                                            $2,74                                             $36,427
C    NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                            Schedule 18                         Schedule19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                     Lobbying
A V,.RCENEAUX, MARK
B    REP                                                                                   $53,377                                           $4,184                                            $57,561
C    NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                            Schedule 18                         Schedule19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                     Lobbying
A    BALES, LISA
B    REP                                                                                   $98,74                                            $4,01                                            $102,756
C    NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                            Schedule 18                         Schedule19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                     Lobbying
A    BALOGH, BETSY
B    REP                                                                                   $15,562                                           $1,200                                            $16,762
C    NONE
                                                      chedule16
     Schedule15                                                                            Schedule17                            Schedule 18                         Schedule19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                     Lobbying


                                                                                                                                                             APPENDIX P. 22
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                      20/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022
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                                                                      ( D) 59-1 Filed 11/22/22
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                                                                                  Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
               (A)                  (B)                   (C)
              Name                  Title              Other Payer               Disbursements                                       Business                 reported in
                                                                                   (before any                                                              (D) through (F)
                                                                                   deductions)
A     BIGCRAFT , JOHNNEA
B     REP                                                                                   $42,709                                           $2,718                                           $45,427
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     BOCENDA , JILLIAN
B     REP                                                                                   $28,95                                                                                             $28,959
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                           chedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     BOUNDS , JOSH
B     REP                                                                                   $42,263                                           $3,600                                           $45,863
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     BRISSETTE , JENNIFER
B     REP                                                                                   $21,27                                            $2,30                                            $23,583
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     BRITTON , DIANNE
B     REP                                                                                   $14,604                                           $1,051                                           $15,655
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     BROOKS , ADAM
 B    REP                                                                                   $17,97                                            $1,25                                            $19,237
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     BURGE , STEVE
 B    REP                                                                                   $33,79                                            $2,37                                            $36,168
"
'-'   NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     CAGLE , FRANK
 B    REP                                                                                   $54,27                                            $2,97                                            $57,253
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     CANGEY , RICK
 B    REP                                                                                   $34,38                                            $1,32                                            $35,714
IC    NONE


                                                                                                                                                              APPENDIX P. 23
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                      21/52
11/11/22, 11:14 AM                                                                                     509-620 (LM2) 03/31/2022
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                                                                                 Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
              (A)                  (B )                   (C )
             Name                  Title              Other Payer               Disbursements                                       Business                 reported in
                                                                                  (before any                                                              (D) through (F)
                                                                                  deductions)
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    CARPENTER, BETH
B    REP                                                                                   $27,612                                             $925                                           $28,537
IC   NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    CLARK, BRIAN
B    REP                                                                                   $77,97                                            $3,700                                           $81,672
C    NONE
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    CLEMENT , AMBER
B    REP                                                                                    $8,19                                            $3,06                                            $11,265
IC   NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    CORSO, KATHRYN
B    REP                                                                                   $10,434                                             $900                                           $11,334
C    NONE
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    CUEVAS , AARON
B    REP                                                                                   $46,63                                            $4,84                                            $51,483
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A DANG, LYANA
B    REP                                                                                   $29,153                                           $1,800                                           $30,953
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A DANG, PHELICIA
B    REP                                                                                   $49,41                                            $4,28                                            $53,697
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    DELAHUNTY, PHILIP
B    REP                                                                                   $23,376                                          $10,458                                           $33,834
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying


                                                                                                                                                             APPENDIX P. 24
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                     22/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022
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                                                                                  Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
               (A)                  (B)                    (C )
              Name                  Title              Other Payer               Disbursements                                       Business                 reported in
                                                                                   (before any                                                              (D) through (F)
                                                                                   deductions)
A     DUNN, SHARON
B     REP                                                                                   $53,55S                                           $3,078                                            $56,637
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     EPERJESI, HALEY
B     REP                                                                                   $51,91                                            $5,04                                             $56,955
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                           chedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     FARLEY , CARLETTA
B     REP                                                                                   $20,214                                           $1,150                                            $21,364
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     FLOWERS, SECORRA
B     REP                                                                                   $50,31                                            $3,74                                             $54,053
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     GLUTH , MARCUS
B     REP                                                                                   $12,332                                                                                             $12,332
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A GREEN, AMY
B     REP                                                                                   $97,62                                            $9,50                                            $107,134
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A GUSTIN, ANDREA
B     REP                                                                                   $48,28                                            $2,84                                             $51,136
"
'-'   NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     HAERTLING, LINDA
B     REP                                                                                   $12,69                                              $82                                             $13,522
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     HANCOCK, PATRICK
B     REP                                                                                   $18,46                                            $1,18                                             $19,646
IC    NONE


                                                                                                                                                              APPENDIX P. 25
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                       23/52
11/11/22, 11:14 AM                                                                                     509-620 (LM2) 03/31/2022
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                                                                                 Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
              (A)                  ( B)                   (C)
             Name                  Title              Other Payer               Disbursements                                      Business                  reported in
                                                                                  (before any                                                              (D) through (F)
                                                                                  deductions)
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    HANSEN , LAURA
B    REP                                                                                   $47,311                                           $2,838                                           $50,149
IC   NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    HODGSON , ERIC
B    REP                                                                                   $38,16                                            $2,83                                            $41,002
C    NONE
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    HOWARD , ANDRE
B    REP                                                                                   $90,641                                           $4,37                                            $95,019
IC   NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    IBARRA , BILL
B    REP                                                                                   $32,99C                                           $1,650                                           $34,640
C    NONE
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    ISLERWOOD , IZUMI
B    REP                                                                                   $12,95                                            $1,310                                           $14,269
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A UACQUET , HEATHER
B    REP                                                                                   $52,069                                           $3,868                                           $55,937
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A UOHNSON , BARRINGTON
B    REP                                                                                   $25,64                                            $1,84                                            $27,494
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A UOHNSON , KEVIN
B REP                                                                                      $32,001                                           $2,425                                           $34,426
C NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                 10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying


                                                                                                                                                             APPENDIX P. 26
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                     24/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022
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                                                                                  Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
               (A)                  (B)                   (C)
              Name                  Title              Other Payer               Disbursements                                       Business                 reported in
                                                                                  (before any                                                               (D) through (F)
                                                                                   deductions)
A     KING , PENELOPE
B     REP                                                                                   $77,12S                                           $5,696                                           $82,825
C     NONE
                                                      Schedule16
      Schedule15                                                                            Schedule17                            Schedule18                          Schedule19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                         General Overhead                    Administration
                                                      Lobbying
A     LITTLETON , MARK
B     REP                                                                                   $39,17                                                                                             $39,170
C     NONE
                                                       chedule16
      Schedule15                                                                            Schedule17                             chedule18                          Schedule19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                      Lobbying
A     LORDI, IAN
B     REP                                                                                   $42,955                                           $3,035                                           $45,990
C     NONE
                                                       chedule16
      Schedule15                                                                            Schedule17                            Schedule18                          Schedule19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                      Lobbying
A     LYDECKER, BECKY
B     REP                                                                                   $24,16                                            $2,31                                            $26,481
C     NONE
                                                      Schedule16
      Schedule15                                                                            Schedule17                            Schedule18                          Schedule19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                         General Overhead                    Administration
                                                      Lobbying
A MALIS, ALEXANDRA
B     REP                                                                                   $33,246                                           $3,599                                           $36,845
C     NONE
                                                       chedule16
      Schedule15                                                                            Schedule17                            Schedule18                          Schedule19
I                                                     Political Activities and       80%                                                                                                       20%
      Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                      Lobbying
A MARTIN, LILLIAN
B     REP                                                                                   $66,11                                            $4,760                                           $70,879
C     NONE
                                                      Schedule16
      Schedule15                                                                            Schedule17                            Schedule18                          Schedule19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                         General Overhead                    Administration
                                                      Lobbying
A MAYER, RENEE
B     REP                                                                                   $63,22                                            $3,77                                            $66,997
"
'-'   NONE
                                                       chedule16
      Schedule15                                                                            Schedule17                            Schedule18                          Schedule19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                         General Overhead                     dministration
                                                      Lobbying
A MEREDITH, CHRISTOPHER
B     REP                                                                                   $27,07                                            $1,82                                            $28,893
C     NONE
                                                      Schedule16
      Schedule15                                                                            Schedule17                            Schedule18                          Schedule19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                         General Overhead                    Administration
                                                      Lobbying
A MONTANARI, TRACEY
B     REP                                                                                   $66,04                                            $3,600                                           $69,642
IC    NONE


                                                                                                                                                              APPENDIX P. 27
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                      25/52
11/11/22, 11:14 AM                                                                                     509-620 (LM2) 03/31/2022
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                                                                                 Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
              (A)                  ( B)                   (C)
             Name                  Title              Other Payer               Disbursements                                       Business                 reported in
                                                                                  (before any                                                              (D) through (F)
                                                                                  deductions)
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    MORGAN , HEIDI
B    REP                                                                                   $99,356                                           $4,899                                           $104,255
IC   NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    MYERS , ASHLEY
B    REP                                                                                   $41,57                                            $3,200                                            $44,772
C    NONE
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    NICOLADE , ARMANDO
B    REP                                                                                   $32,44                                            $1,081                                            $33,523
IC   NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    NORVELL , ROBERT
B    REP                                                                                   $28,885                                           $3,211                                            $32,096
C    NONE
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    O'KEEFE , GARY
B    REP                                                                                   $39,48                                            $2,00                                             $41,494
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A OSWALD , WENDY
B    REP                                                                                   $87,081                                           $5,214                                            $92,295
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    PATTERSEN , JUSTIN
B    REP                                                                                   $68,49                                            $4,13                                             $72,632
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    POWERS , KELLI
B    REP                                                                                   $14,803                                           $3,001                                            $17,804
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying


                                                                                                                                                             APPENDIX P. 28
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                      26/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022
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                                                                      ( D) 59-1 Filed 11/22/22
                                                                                       (E)                                    Page 29  (F) of 59 PageID 1617      (G)                   (H)
                                                                                  Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
               (A)                  (B)                   (C)
              Name                  Title              Other Payer               Disbursements                                       Business                 reported in
                                                                                   (before any                                                              (D) through (F)
                                                                                   deductions)
A     REEVES, RICHARD
B     REP                                                                                   $35,09S                                                                                            $35,098
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     RHINEHART, ANDREW
B     REP                                                                                    $9,88                                              $38                                            $10,269
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                           chedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     RUTZ, AMBER
B     REP                                                                                   $36,643                                                                                            $36,643
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     SAKACS, HEIDI
B     REP                                                                                   $13,69                                                                                             $13,694
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     SAMPEY, DAN
B     REP                                                                                   $73,13C                                           $3,613                                           $76,743
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     SARSFIELD, MARY
B     REP                                                                                   $38,11                                            $6,26                                            $44,385
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     SCANLON, RANDI
B     REP                                                                                   $61,26                                            $2,72                                            $63,988
"
'-'   NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     SCATLIFFE, DALE
B     REP                                                                                   $67,50                                            $4,251                                           $71,751
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                 10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     SCHWARTZ, TIM
B     REP                                                                                   $13,591                                           $1,74                                            $15,338
IC    NONE


                                                                                                                                                              APPENDIX P. 29
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                      27/52
11/11/22, 11:14 AM                                                                                     509-620 (LM2) 03/31/2022
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                                                                                     (E)                                     Page 30 (F) of 59 PageID 1618       (G)                   ( H)
                                                                                 Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
              (A)                  ( B)                   (C)
             Name                  Title              Other Payer               Disbursements                                      Business                  reported in
                                                                                  (before any                                                              (D) through (F)
                                                                                  deductions)
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    SIVELS , CHARLOTTE
B    REP                                                                                   $13,281                                           $1,254                                            $14,535
IC   NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    SMITH , MEILAN
B    REP                                                                                   $10,74                                                                                              $10,748
C    NONE
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    STANKO, JOE
B    REP                                                                                   $15,92                                              $650                                            $16,578
IC   NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A    STARKS, CHARLES
B    REP                                                                                   $45,123                                           $2,850                                            $47,973
C    NONE
                                                     Schedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                     Lobbying
A    SULLIVAN, LOUISE
B    REP                                                                                   $40,79                                                                                              $40,798
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A rrERRY , MARLENO
B    REP                                                                                   $16,448                                           $1,148                                            $17,596
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A rrHRASHER-REEVES , RICHARD
B    REP                                                                                   $16,81                                            $3,600                                            $20,419
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying
A rrRUDELL , JOE
B    REP                                                                                   $98,111                                           $4,131                                           $102,242
C    NONE
                                                      chedule 16
     Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                              90%   Political Activities and                                                                                                                  10%
     Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                     Lobbying


                                                                                                                                                             APPENDIX P. 30
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                      28/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022
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                                                                      ( D) 59-1 Filed 11/22/22
                                                                                       (E)                                    Page 31  (F) of 59 PageID 1619      (G)                   (H)
                                                                                  Gross Salary        Allowances Disbursed   Disbursements for Official Other Disbursements not        TOTAL
               (A)                  (B )                   (C )
              Name                  Title              Other Payer               Disbursements                                       Business                 reported in
                                                                                   (before any                                                              (D) through (F)
                                                                                   deductions)
A rrucK , KIM
B REP                                                                                       $32,034                                           $1,450                                            $33,484
C NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     �ITTO-GLATTL Y , LORI
B     REP                                                                                   $23,381                                             $10                                             $23,486
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                           chedule 18                          Schedule 19
I                                               0%    Political Activities and       80%                                                                                                        20%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     WALLACE , SUSAN
B     REP                                                                                   $25,67S                                                                                             $25,678
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     WALSH-MARTIN , MAUREEN
B     REP                                                                                  $100,83                                            $7,110                                           $107,944
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     CORRIGAN , SARA
B     REP                                                                                   $71,057                                           $2,718                                            $73,775
C     NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     HAGAN , KELLY
B     REP                                                                                   $49,70                                            $2,84                                             $52,556
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     LEGEROS , TIM
B     REP                                                                                   $71,221                                           $4,61                                             $75,837
"
'-'   NONE
                                                       chedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                      dministration
                                                      Lobbying
A     MORGAN , BRIAN
B     REP                                                                                   $70,25                                            $4,24                                             $74,494
C     NONE
                                                      Schedule 16
      Schedule 15                                                                           Schedule 17                          Schedule 18                          Schedule 19
I                                               90%   Political Activities and                                                                                                                  10%
      Representational Activities                                                           Contributions                        General Overhead                     Administration
                                                      Lobbying
A     �OLPE , DEBORAH
B     REP                                                                                   $33,00                                                                                              $33,009
IC    NONE


                                                                                                                                                              APPENDIX P. 31
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                       29/52
11/11/22, 11:14 AM                                                                                 509-620 (LM2) 03/31/2022
                                                                    ( D)
                                          Case 4:22-cv-00343-Y Document              (E)
                                                                         59-1 Filed 11/22/22                              Page 32  (F) of 59 PageID 1620      (G)                          (H)
                                                                         Gross Salary        Allowances Disbursed        Disbursements for Official Other Disbursements not               TOTAL
             (A)                  (B )                 ( C)
            Name                  Title             Other Payer         Disbursements                                            Business                 reported in
                                                                          (before any                                                                   (D) through (F)
                                                                          deductions)
                                          Schedule 16
    Schedule 15                                                                    Schedule 17                                 Schedule 18                        Schedule 19
I                                             90%
                                          Political Activities and                                                                                                                                    10%
    Representational Activities                                                    Contributions                               General Overhead                   Administration
                                          Lobbying
TOTALS RECEIVED BY EMPLOYEES MAKING $10,000 OR LESS                  I              $260,1561                              I                  $18,0741                                            $278,23(
 I
    Schedule 15
    Representational Activities
Total Employee Disbursements
                                   190%
                                           Schedule 16
                                           Political Activities and Lobbying
                                                                               $5,654,1m
                                                                                                        l�
                                                                                                           chedule 17
                                                                                                         Contributions
                                                                                                                   $(
                                                                                                                               I       l�
                                                                                                                                          chedule 18
                                                                                                                                        General Overhead
                                                                                                                                      $298,957
                                                                                                                                                                         ��
                                                                                                                                                                           hedule 19
                                                                                                                                                                          dministration
                                                                                                                                                                            $0
                                                                                                                                                                                                  I   10%
                                                                                                                                                                                              $5,953,06€
Less Deductions
Net Disbursements                                                                                                                                                                             $5,953,066

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                                           APPENDIX P. 32
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                            30/52
11/11/22, 11:14 AM                                                                    509-620 (LM2) 03/31/2022
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SCHEDULE 13- MEMBERSHIP STATUS                                                                           Page 33 of 59 PageID 1621          FILE NUMBER: 509-620

                                                             Category of Membership                                       Number            Voting Eligibility
                                                                       (A)                                                  (B)                    (C)
Active Membership                                                                                                                  23,440          Yes
Members (Total of all lines above)                                                                                                 23,440
Agency Fee Payers*                                                                                                                    291
Total Members/Fee Payers                                                                                                           23,731
 Agency Fee Payers are not considered members of the labor organization.

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                             APPENDIX P. 33
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                      31/52
11/11/22, 11:14 AM                                                                 509-620 (LM2) 03/31/2022
                         Case 4:22-cv-00343-Y
 DETAILED SUMMARY PAGE· SCHEDULES 14 THROUGH 19 Document 59-1 Filed 11/22/22                           Page 34 of 59 PageID 1622                           FILE NUMBER: 509 -620

                                SCHEDULE14        OTHER RECEIPT S                                             SCHEDULE17 CONT RIBUTIONS, GIF TS & GRANTS
1. Named Payer Itemized Receipts                                             $(       1. Named Payee Itemized Disbursements                                               $7,50(
2. Named Payer Non-itemized Receipts                                         $(       21 . Named Payee Non-itemized Disbursements                                             $(
3. All Other Receipts                                                                 3. To Officers                                                                          $(
4. Total Receipts                                                            $(        14. To Employees                                                                       $(
                                                                                      5. All Other Disbursements                                                            $15(
                                                                                      6. Total Disbursements                                                              $7,65(

                         SCHEDULE15 REPRESENTATIONAL ACTIVITIES                                                     SCHEDULE18 GENERAL OV ERHEAD
1. Named Payee Itemized Disbursements                                   $251,98,      1. Named Payee Itemized Disbursements                                             $751,60,
2. Named Payee Non-itemized Disbursements                                     $(      2
                                                                                      1 . Named Payee Non-itemized Disbursements                                        $363,91A
3. To Officers                                                        $1,050,82�      3. To Officers                                                                           $(
4. To Employees                                                       $4,783,21,       14. To Employees                                                                   $90,11A
5. All Other Disbursements                                              $127,78€      5. All Other Disbursements                                                        $471,58e
6. Total Disbursements                                                $6,213,80�      6. Total Disbursements                                                          $1,677,21e
                       SCHEDULE16 POLITICAL ACTIVITIES AND LOBBYING                                                SCHEDULE19 UNION ADM INISTRATION
1. Named Payee Itemized Disbursements                                   $27,87e       1. Named Payee Itemized Disbursements                                             $487,91A
2. Named Payee Non-itemized Disbursements                                    $(       21 . Named Payee Non-itemized Disbursements                                        $45,69€
3. To Officers                                                          $37,59(       3. To Officers                                                                    $286,204
4. To Employees                                                        $139,03'1        14. To Employees                                                                $940,72 °
5. All Other Disbursements                                              $13,30€       5. All Other Disbursements                                                         $44,237
6. Total Disbursements                                                 $217,80e       6. Total Disbursements                                                          $1,804,77A

 Form LM-2 (Rev ised 2010); (Tech. Rev. 2/2013)




                                                                                                                                   APPENDIX P. 34
htt ps://olms ap ps.dol.gov/query/or gReport.do                                                                                                                            32/52
11/11/22, 11:14 AM                                                                           509-620 (LM2) 03/31/2022
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SCHEDULE 14 - OTHER RECEIPTS                                                                                        Page 35 of 59 PageID 1623     FILE NUMBER: 509-620

                      Name and Address
                             (A)
                                                                                     Purpose                                      Date             Amount
                                                                                       (C )                                        (D)               (E)
                                                Total Itemized Transactions with this Payee/Payer
                                                Total Non-Itemized Transactions with this Payee/Payer
                                                Total of All Transactions with this Payee/Payer for This Schedule                                                  $(
                     Type or Classification
                              (B)

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                                                                                                                                         APPENDIX P. 35
https://olmsapps.dol.gov/query/orgRep ort.do                                                                                                                     33/52
11/11/22, 11:14 AM                                                                    509-620 (LM2) 03/31/2022
                         Case ACTIVITIES
SCHEDULE 15 - REPRESENTATIONAL 4:22-cv-00343-Y Document 59-1 Filed 11/22/22                                Page 36 of 59 PageID 1624         FILE NUMBER: 509-620

                      Name and Address                                      Purpose                                      Date                Amount
                              (A)                                             (C)                                         (D)                  (E)
AFA-CWA                                       LEGAL REPRESENTATION                                                     04/01/2021                         $5 413
                                              LEGAL REPRESENTATION                                                     05/01/2021                         $4 468
501 3rd Street                                LEGAL REPRESENTATION                                                     06/01/2021                         $5 508
Washington                                    LEGAL REPRESENTATION                                                     07/01/2021                        $10 175
DC                                            LEGAL REPRESENTATION                                                     08/01/2021                        $12 508
20001-2797                                    LEGAL REPRESENTATION                                                     12/01/2021                        $46 027
                     Type or Classification   LEGAL REPRESENTATION                                                     03/01/2022                        $21 819
                              (B)             Total Itemized Transactions with this Payee/Payer                                                         $105 918
Negotiations                                  Total Non-Itemized Transactions with this Payee/Paver
                                              rTotal of All Transactions with this Pavee/Paver for This Schedule                                        $105 918
                Name and Address
                       (A)
AKINS FINANCIAL ANALYST PROFESSIONAL FEES -                                    Purpose                                    Date               Amount
NEGOTI                                                                            (C)                                      (D)                 (E)
                                              PROFESSIONAL FEES - NEGOTIATIONS                                         05/01/2021                         $1 750
283 MAPLE STREET
                                              PROFESSIONAL FEES - NEGOTIATIONS                                         07/01/2021                         $2 625
STOWE
                                              rTotal Itemized Transactions with this Pavee/Paver                                                          $4 375
WT                                            rTotal Non-Itemized Transactions with this Pavee/Paver
05672
               Type or Classification          ,otal of All Transactions with this Payee/Payer for This Schedule                                          $4,375
                        (B)
FINANCIAL ANALYST
                Name and Address
                              (A)                                           Purpose                                       Date               Amount
BAAB & DENISON LLP
                                                                              (C)                                          (D)                 (E)
                                              LEGAL REPRESENTATION                                                     06/01/2021                         $7 935
6301 GASTON AVE STE 550
                                              LEGAL REPRESENTATION                                                     09/01/2021                        $14 952
DALLAS
                                              LEGAL REPRESENTATION                                                     01/01/2022                           $453
rrx                                           Total Itemized Transactions with this Payee/Payer                                                          $23 340
75214
                     Type or Classification   Total Non-Itemized Transactions with this Payee/Paver
                                              Total of All Transactions with this Payee/Payer for This Schedule                                          $23,340
                              (B)
LAWFIRM
                      Name and Address
                              (A)

                                                                                                                   I
BARRY E SIMON PC                                                            Purpose                                      Date                Amount
                                                                              (C)                                         (D)                  (E)
1320 EAST ETON DRIVE
                                              ARBITRATION                                                              08/01/2021                         $3 750
!ARLINGTON HEIGHTS
IL                                            Total Itemized Transactions with this Payee/Paver                                                           $3 750
60004-2181                                    Total Non-Itemized Transactions with this Pavee/Paver
               Type or Classification         1otal of All Transactions with this Payee/Payer for This Schedule                                           $3,750
                              (B)
ARBITRATOR
               Name and Address                                             Purpose                                       Date               Amount
                      (A )                                                    (C)                                          ( D)                (E)
BREDHOFF & LAWFIRM LEGAL REPRESENTATION       LEGAL REPRESENTATION                                                     06/01/2021                         $1 400
                                              LEGAL REPRESENTATION                                                     07/01/2021                         $1 021
805 15TH ST. NW STE 100                       LEGAL REPRESENTATION                                                     09/01/2021                           $750
WASHINGTON                                    LEGAL REPRESENTATION                                                     10/01/2021                           $18!:
DC
                                              Total Itemized Transactions with this Payee/Payer                                                           $3 672
20005-2286
                                              Total Non-Itemized Transactions with this Payee/Payer
                Type or Classification
                                              Total of All Transactions with this Payee/Payer for This Schedule
                                                                                                                                    APPENDIX P. 36        $3,672
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                 34/52
11/11/22, 11:14 AM                                                                            509-620 (LM2) 03/31/2022
                              (B)      Case 4:22-cv-00343-Y Document 59-1   Filed 11/22/22
                                                                       Purpose                                     Page 37 of 59 PageID
                                                                                                                                 Date   1625         Amount
LAWFIRM                                                                                (C)                                        (D)                  (E)
                                                     LEGAL REPRESENTATION                                                     11/01/2021                         $250
                                                     LEGAL REPRESENTATION                                                     01/01/2022                          $63
                                                     Total Itemized Transactions with this Payee/Paver                                                         $3 672
                                                     rrotal Non-Itemized Transactions with this Pavee/Paver
                                                     Total of All Transactions with this Pavee/Paver for T his Schedule                                        $3 672
               Name and Address                                                     Purpose                                      Date                Amount
                      (A)                                                             (C)                                                              (E)
                                                                                                                                  (D)
:ARSON REPORTING & ASSOCIATES                        ARBITRATION                                                              11/01/2021                       $6 850
551628                                               ARBITRATION                                                              12/01/2021                       $5 110
                                                     ARBITRATION                                                              06/01/2021                         $89<1
DALLAS
                                                     !ARBITRATION                                                             07/01/2021                       $2 998
trx                                                  !ARBITRATION                                                             08/01/2021                         $89<1
75355
                     Type or Classification           1otal Itemized Transactions with this Pavee/Paver                                                       $16 74E
                                                     Total Non-Itemized Transactions with this Payee/Payer
                              (B)
ARBITRATOR                                            1otal of All Transactions with this Payee/Payer for T his Schedule                                      $16,74€
                      Name and Address
                            (A)
GOLD, MARLENE                                                                       Purpose                                      Date                Amount
                                                                                      (C)                                         (D)                  (E )
27 PROSPECT PARK WEST
                                                     !ARBITRATION                                                              12/01/2021                      $2 800
BROOKLYN
NY                                                   rrotal Itemized Transactions with this Pavee/Paver                                                        $2 800
11215                                                rTotal Non-Itemized Transactions with this Pavee/Paver
                     Type or Classification           1otal of All Transactions with this Payee/Payer for T his Schedule                                       $2,800
                              (B )
ARBITRATOR
                      Name and Address                                              Purpose                                      Date                Amount
                              (A)                                                     (C)                                         (D)                  (E )
GUERRIERI BARTOS & LAWFIRM LEGAL                     LEGAL REPRESENTATION                                                     05/01/2021                       $2 281
REPRESENTATION                                       LEGAL REPRESENTATION                                                     07/01/2021                       $3 559
                                                     LEGAL REPRESENTATION                                                     08/01/2021                       $3 103
1900 M STREET STE 700                                LEGAL REPRESENTATION                                                     09/01/2021                       $5 019
WASHINGTON                                           LEGAL REPRESENTATION                                                     11/01/2021                       $1 916
DC                                                   LEGAL REPRESENTATION                                                     12/01/2021                       $1 36<1
20036-2243                                           LEGAL REPRESENTATION                                                     01/01/2022                         $365
               Type or Classification                rrotal Itemized Transactions with this Pavee/Paver                                                       $17 607
                              (B)                    Total Non-Itemized Transactions with this Payee/Paver
LAWFIRM                                              Total of All Transactions with this Payee/Paver for T his Schedule                                       $17 607
                      Name and Address
                              (A)
LABOR ARBITRATION INSTITUTE                                                         Purpose                                      Date                Amount
                                                                                      (C)                                         (D)                  (E)
205 SOUTH WATER STREET
                                                     !ARBITRATION                                                              07/01/2021                      $3 570
NORTHFIELD
MN                                                   Total Itemized Transactions with this Payee/Payer                                                         $3 570
55057-2043                                           Total Non-Itemized Transactions with this Payee/Paver
                     Type or Classification          Total of All Transactions with this Payee/Payer for T his Schedule                                        $3,570
                              (B)
ARBITRATOR
                      Name and Address                                              Purpose                                      Date                Amount
                              (A)                                                     (C)                                         (D)                  (E)
NATIONAL ACADEMY OF ARBITRATOR                       Total Itemized Transactions with this Payee/Payer                                                         $3 200
                                                     Total Non-Itemized Transactions with this Payee/Payer
1 NORTH MAIN STREET                                  Total of All Transactions with this Payee/Payer for T his Schedule
                                                                                                                                            APPENDIX P. 37     $3,200
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                      35/52
11/11/22, 11:14 AM                                                                           509-620 (LM2) 03/31/2022
!COURTLAND
 NY
 13045
                                       Case 4:22-cv-00343-Y Document 59-1
                                                     ARBITRATION
                                                                            Filed 11/22/22
                                                                       Purpose
                                                                                      (C)                                 I
                                                                                                                  Page 38 of 59 PageID
                                                                                                                                Date
                                                                                                                                  (D )
                                                                                                                                       1626
                                                                                                                              08/01/2021
                                                                                                                                                    Amount
                                                                                                                                                      (E)
                                                                                                                                                              $3 200
                     Type or Classification          Total Itemized Transactions with this Payee/Paver                                                        $3 200
                              (B)                    Total Non-Itemized Transactions with this Payee/Paver
ARBITRATOR                                           rrotal of All Transactions with this Pavee/Paver for This Schedule                                       $3 200
                Name and Address
                       (A)                                                         Purpose                                      Date                Amount
OFFICE OF ARBITRATOR RUBIN ARMENDARIZ
                                                                                     (C)                                         (D)                  (E)
                                                     ARBITRATION                                                              07/01/2021                      $6 325
29010 PFEIFFERS GATE
                                                     ARBITRATION                                                              02/01/2022                     $17 24E
FAIR OAKS RANCH
                                                     ARBITRATION                                                              03/01/2022                     $10 218
rrx                                                  rrotal Itemized Transactions with this Pavee/Paver                                                      $33 789
78015
                     Type or Classification           ,otal Non-Itemized Transactions with this Pavee/Paver
                                                     rTotal of All Transactions with this Payee/Payer for This Schedule                                      $33,789
                              (B)
ARBITRATOR
               Name and Address                                                    Purpose                                       Date               Amount
                     ( A)                                                            (C)                                          (D)                 (E)
OSBORNE LAW OFFICES                                   LEGAL REPRESENTATION                                                    04/01/2021                      $2 042
                                                      LEGAL REPRESENTATION                                                    05/01/2021                        $369
1130 CONNECTICUT AVE NW                               LEGAL REPRESENTATION                                                    06/01/2021                      $3 112
WASHINGTON                                            LEGAL REPRESENTATION                                                    10/01/2021                      $5 619
DC                                                    LEGAL REPRESENTATION                                                    12/01/2021                      $3 947
20036                                                 LEGAL REPRESENTATION                                                    03/01/2022                      $4 011
              Type or Classification                 Total Itemized Transactions with this Payee/Paver                                                       $19 100
                       (B)                           Total Non-Itemized Transactions with this Payee/Paver
LAWFIRM                                              rrotal of All Transactions with this Pavee/Paver for This Schedule                                      $19 100
                Name and Address
                       (A)

                                                                                                                          I
!VALVERDE ARBITRATION SERVICES                                                     Purpose                                      Date                Amount
 188
                                                                                      (C)                                        (D)                  (E)
                                                     ARBITRATION                                                              09/01/2021                     $14 115
HURST
                                                     Total Itemized Transactions with this Payee/Paver                                                       $14 115
rrx                                                  Total Non-Itemized Transactions with this Pavee/Paver
76053
                     Type or Classification          1otal of All Transactions with this Payee/Payer for This Schedule                                       $14,115
                              (B)
ARBITRATOR

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                           APPENDIX P. 38
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                     3 6/52
11/11/22, 11:14 AM                                                                           509-620 (LM2) 03/31/2022
                          Case 4:22-cv-00343-Y
SCHEDULE 16 - POLITICAL ACTIVITIES AND LOBBYING Document 59-1 Filed 11/22/22                                         Page 39 of 59 PageID 1627         FILE NUMBER 509-620

                  Name and Address                                                 Purpose                                          Date                Amount
                         (A)                                                         (C)                                             ( D)                 ( E)
O'NEILL AND LOBBYIST ACTIVITIES                 LOBBYIST ACTIVITIES                                                              04/01/2021                         $1,62'
                                                LOBBYIST ACTIVITIES                                                              05/01/2021                         $1,50(
131 CHARDON STREET                              LOBBYIST ACTIVITIES                                                              06/01/2021                         $3,25(
 BOSTON                                         LOBBYIST ACTIVITIES                                                              08/01/2021                         $2,75(
MA                                              LOBBYIST ACTIVITIES                                                              09/01/2021                         $1,50(
02114                                           LOBBYIST ACTIVITIES                                                              10/01/2021                           $50(
                     Type or Classification     LOBBYIST ACTIVITIES                                                              11/01/2021                         $1,50(
                              (B)               LOBBYIST ACTIVITIES                                                              12/01/2021                         $1,00(
LOBBYIST                                        LOBBYIST ACTIVITIES                                                              01/01/2022                           $750
                                                LOBBYIST ACTIVITIES                                                              02/01/2022                         $1,50(
                                                LOBBYIST ACTIVITIES                                                              03/01/2022                        $12,00(
                                                Total Itemized Transactions with this Payee/Payer                                                                  $27,87e
                                                Total Non-Itemized Transactions with this Payee/Payer
                                                rrotal of All Transactions with this Payee/Payer for This Schedule                                                 $27,87e

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                              APPENDIX P. 39
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                          37/52
11/11/22, 11:14 AM                                                                           509-620 (LM2) 03/31/2022
                         Case
SCHEDULE 17 - CONTRIBUTIONS,    4:22-cv-00343-Y
                             GIFTS & GRANTS     Document 59-1 Filed 11/22/22                                         Page 40 of 59 PageID 1628         FILE NUMBER: 509-620

                  Name and Address
                         (A)


                                                                                                                          I
 UNIVERSITY OF WASHINGTON DIVISION OF MEDICAL
!GENET                                                                                Purpose                                       Date                Amount
1357720                                                                                 (C)                                          (D)                  (E )
                                                DONATION - CABIN AIR RESEARCH                                             I      03/01/2022                          $7,50(
SEATTLE                                         rrotal Itemized Transactions with this Payee/Payer                                                                   $7,50(
�A                                              rrotal Non-Itemized Transactions with this Payee/Payer
98195-7720                                      rrotal of All Transactions with this Payee/Payer for This Schedule                                                   $7,50(
                     Type or Classification
                              (B )
DONATION

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                              APPENDIX P. 40
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                           38/52
11/11/22, 11:14 AM                                                                         509-620 (LM2) 03/31/2022
                     Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22
SCHEDULE18-GENERALOVERHEAD                                                                                         Page 41 of 59 PageID 1629         FILE NUMBER: 509-620

                  Name and Address
                         (A)


                                                                                                                        I
 AMAZON CAPITAL SERVICES
135184                                                                              Purpose                                      Date                 Amount
                                                                                      (C)                                         ( D)                  (E)
!SEATTLE                                      Total Itemized Transactions with this Payee/Payer
WA                                            Total Non-Itemized Transactions with this Payee/Payer                                                               $16,35e
 98124                                        rrotal of All Transactions with this Payee/Payer for This Schedule                                                  $16,35e
                     Type or Classification
                              (B)
OFFICE SUPPLIES
                 Name and Address
                        (A)


                                                                                                                        I
 AMTRUST NORTH AMERICA
16939                                                                               Purpose                                      Date                 Amount
                                                                                      (C)                                         ( D)                  (E)
!CLEVELAND                                    rrotal Itemized Transactions with this Payee/Payer
IOH                                           rrotal Non-Itemized Transactions with this Payee/Payer                                                              $27,08,
 44101                                        [Total of All Transactions with this Payee/Payer for This Schedule                                                  $27,08,
                Type or Classification
                         (B)
INSURANCE COMPANY
                 Name and Address
                         (A)


                                                                                                                        I
ANAGO OF DALLAS
                                                                                    Purpose                                      Date                 Amount
1275 WEST CAMPBELL RD                                                                 (C)                                         ( D)                  (E)
 RICHERSON                                    Total Itemized Transactions with this Payee/Payer
rrx                                           Total Non-Itemized Transactions with this Payee/Payer                                                               $15,74�
75080                                         rrotal of All Transactions with this Payee/Payer for This Schedule                                                  $15,74�
                Type or Classification
                         (B)
CLEANING SERVICE
                 Name and Address                                                Purpose                                          Date                Amount
                         (A)                                                       (C)                                             ( D)                 (E)
BLOOMBERG GOVERNMENT                          LICENSE FEE 6/1/21 TO 8/31/21                                                    07/01/2021                          $4,04E
1419841                                       LICENSE FEE 9/1/2021 TO 11/31/2021                                               09/01/2021                          $4,04E
                                              LICENSE FEE 10/4/21 TO 10/03/2022                                                10/01/2021                          $7,63�
BOSTON                                        LICENSE FEE 12/1/21 TO 2/28/2022                                                 12/01/2021                          $4,04E
MA                                            LICENSE FEE 3/1/2022 TO 8/31/2022                                                03/01/2022                          $8,097
02241                                         LICENSE FEE 9/1/2021 TO 8/31/2024                                                03/01/2022                         $28,341
                     Type or Classification   rrotal Itemized Transactions with this Payee/Payer                                                                  $56,21E
                              (B)             rrotal Non-Itemized Transactions with this Payee/Payer
SUBSCRIPTION                                  rrotal of All Transactions with this Payee/Payer for This Schedule                                                  $56,21E
                      Name and Address
                             (A)


                                                                                                                        I
 BURGESS, WENDY
1961018                                                                             Purpose                                      Date                 Amount
                                                                                      (C)                                         ( D)                  (E)
FT. WORTH                                     Total Itemized Transactions with this Payee/Payer
rrx                                           [Total Non-Itemized Transactions with this Payee/Payer                                                              $21,75E
76161                                         [Total of All Transactions with this Payee/Payer for This Schedule                                                  $21,75E
                Type or Classification
                         (B)
COUNTY TAX ASSESSOR
                                                                                                                                            APPENDIX P. 41
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                         39/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022



 CHETU, INC
                    Name and Address
                           (A)
                                     Case 4:22-cv-00343-Y Document 59-1                   Purpose
                                                                                            (C)
                                                                                                 Filed 11/22/22
                                                    Total Itemized Transactions with this Payee/Payer
                                                                                                                                     I
                                                                                                                                Page 42 of 59 PageID
                                                                                                                                              Date
                                                                                                                                               (D)
                                                                                                                                                     1630          Amount
                                                                                                                                                                     (E)

                                                    Total Non-Itemized Transactions with this Payee/Payer                                                                   $78,40(
 1500 CONCORD TERRACE                               rrotal of All Transactions with this Payee/Payer for This Schedule                                                      $78,40(
 SUNRISE
rrx
 33323
                  Type or Classification
                           (B)
 SOFTWARE CONSULTANT
                    Name and Address
                           (A)


                                                                                                                                     I
 DALCO AIR AIR CONDITIONING REPAIRS                                                       Purpose                                              Date                Amount
17310 MILITARY PKWY
                                                                                            (C )                                                (D )                 (E)
                                                    ZONING EAST OFFICE                                                                      01/27/2022                       $7,02�
 DALLAS
                                                    rrotal Itemized Transactions with this Payee/Payer                                                                       $7,02�
rrx
 72227                                              rrotal Non-Itemized Transactions with this Payee/Payer                                                                   $1,20(
                  Type or Classification            Total  of All Transactions with this Payee/Payer for This Schedule                                                       $8,22�
                          (B)
 AIR/HEAT REPAIR MAINTANCE
                   Name and Address
                          (A)                                                                 Purpose                                          Date                Amount
 DELL MARKETING LP                                                                              (C )                                            (D )                 (E)
IC/0 DELL USA LP                                           COMPUTERS                                                                        04/01/2021                      $13,2J<i
                                                           COMPUTERS                                                                        07/01/2021                      $15,07�
 DALLAS                                                    COMPUTERS & MONITORS                                                             10/01/2021                      $29,82�
rrx                                                        REMOTE DESKTOP SERVICE                                                           01/01/2022                       $2,59E
rT5267-6021                                                rrotal Itemized Transactions with this Payee/Payer                                                               $60,73,
                     Type or Classification                rTotal Non-Itemized Transactions with this Payee/Payer
                              (B)                          Total of All Transactions with this Payee/Payer for This Schedule                                                $60,73,
COMPUTERS
                   Name and Address                                                           Purpose                                          Date                Amount
                          (A)                                                                   (C )                                            (D )                 (E)
 ETHIX VENTURES FUMES CARDS                                APFA POLO SHIRTS                                                                 10/01/2021                       $3,821
19 MAIN STREET STE 3C                                      APFA LANYARDS & BACKPACKS                                                        11/01/2021                       $4,030
                                                           APFA LANYARKS & BACKPACS                                                         12/01/2021                      $13,971
!SUTTON
 MA                                                        LAPEL PINS                                                                       02/01/2022                      $16,60(
 01590                                                     PLASTIC BADGES                                                                   03/01/2022                       $5,28(
                Type or Classification                      1otal Itemized Transactions with this Payee/Payer                                                               $43,70,
                                                           rrotal Non-Itemized Transactions with this Payee/Payer                                                               $5�
                         (B)
PROMOTIONAL PRINTING SUPPLIER                              Total of All Transactions with this Payee/Payer for This Schedule                                                $43,75€
                 Name and Address
                         (A)
FOURLANE                                                                                         Purpose                                       Date                Amount
                                                                                                   (C )                                         (D )                 (E)
r,ooo N MOPAC EXPWY                                        PRIOR YEARS ACCOUNTING CONVERSION                                                08/01/2021                      $15,06E
!AUSTIN                                                    PRIOR YEARS ACCOUNTING CONVERSION                                                09/01/2021                       $1,24�
rrx                                                        Total Itemized Transactions with this Payee/Payer                                                                $16,30E
78731                                                      Total Non-Itemized Transactions with this Payee/Payer
                     Type or Classification                rrotal of All Transactions with this Payee/Payer for This Schedule                                               $16,30E
                              (B)
IT SERVICE
                      Name and Address                                                        Purpose                                         Date                 Amount
                             (A)                                                                (C )                                           (D )                  (E)
                                                                                                                                                         APPENDIX P. 42
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                   40/52
11/11/22, 11:14 AM                                                                                509-620 (LM2) 03/31/2022
 HIGHTOUCH TECHNOLOGIES                Case 4:22-cv-00343-Y Document 59-1    Filed 11/22/22
                                                                       Purpose                                            Page 43 of 59 PageID
                                                                                                                                        Date   1631          Amount
1843700                                                                                     (C)                                           (D )                 (E)
                                                     IT SUPPORT/IT CLOUD/MS OFFICE 365                                                04/01/2021                       $17,60(
KANSAS CITY                                          IT SUPPORT/IT CLOUD/MS OFFICE 365                                                05/01/2021                       $17,47e
MO                                                   IT SUPPORT/IT CLOUD/MS OFFICE 365                                                03/01/2022                       $18,61e
64180                                                IT SUPPORT/IT CLOUD/MS OFFICE 365                                                06/01/2021                       $17,42E
                     Type or Classification          IT SUPPORT/IT CLOUD/MS OFFICE 365                                                07/01/2021                       $17,977
                              (B)                    IT SUPPORT/IT CLOUD/MS OFFICE 365                                                08/01/2021                       $17,81,
IT SERVICE                                           IT SUPPORT/IT CLOUD/MS OFFICE 365                                                09/01/2021                       $17,81,
                                                     IT SUPPORT/IT CLOUD/MS OFFICE 365                                                10/01/2021                       $18,02,
                                                     IT SUPPORT/IT CLOUD/MS OFFICE 365                                                11/01/2021                       $18,16E
                                                     IT SUPPORT/IT CLOUD/MS OFFICE 365                                                12/01/2021                       $18,09(
                                                     IT SUPPORT/IT CLOUD/MS OFFICE 365                                                01/01/2022                       $18,09(
                                                     IT SUPPORT/IT CLOUD/MS OFFICE 365                                                02/01/2022                       $18,12E
                                                     rrotal Itemized Transactions with this Payee/Payer                                                               $215,21€
                                                     rTotal Non-Itemized Transactions with this Payee/Payer
                                                     Total of All Transactions with this Payee/Payer for This Schedule                                                $215,21€
                    Name and Address
                           (A )
 !MA/WALDMAN BROS.                                                                      Purpose                                          Date                Amount
16200 LBJ FWY STE 200                                                                     (C)                                             (D )                 (E)
                                                     FIDUCIARY LIABILITY                                                              04/01/2021                        $1,261
 DALLAS                                              CYBER CRIME INSURANCE                                                            05/01/2021                        $6,58�
rrx                                                  Total Itemized Transactions with this Payee/Payer                                                                  $7,844
175240-6331                                          Total Non-Itemized Transactions with this Payee/Payer                                                                $36,
                 Type or Classification              rrotal of All Transactions with this Payee/Payer for This Schedule                                                 $8,206
                          (B)
 INSURANCE COMPANY
                  Name and Address                                                      Purpose                                          Date                Amount
                          (A )                                                            (C)                                             (D )                 (E)
 IPFS CORPORATION                                    EXECUTIVE RISK POLICY                                                            04/01/2021                       $10,80E
1412086                                              EXECUTIVE RISK POLICY                                                            05/01/2021                       $10,80E
                                                     EXECUTIVE RISK POLICY                                                            06/01/2021                       $10,80E
KANSAS CITY                                          EXECUTIVE RISK POLICY                                                            07/01/2021                       $10,80E
MO                                                   EXECUTIVE RISK POLICY                                                            08/01/2021                       $10,80E
64141-2084                                           EXECUTIVE RISK POLICY                                                            09/01/2021                       $10,80E
               Type or Classification                EXECUTIVE RISK POLICY                                                            10/01/2021                       $10,80E
                        (B)                          EXECUTIVE RISK POLICY                                                            11/01/2021                       $10,80E
INSURANCE BROKER                                     EXECUTIVE RISK POLICY                                                            12/01/2021                       $10,80E
                                                     EXECUTIVE RISK POLICY                                                            01/01/2022                       $10,80E
                                                     EXECUTIVE RISK POLICY                                                            02/01/2022                       $10,80E
                                                     EXECUTIVE RISK POLICY                                                            03/01/2022                       $10,80E
                                                     rrotal Itemized Transactions with this Payee/Payer                                                               $129,70E
                                                     rrotal Non-Itemized Transactions with this Payee/Payer
                                                     Total of All Transactions with this Payee/Payer for This Schedule                                                $129,70E
                Name and Address
                       (A )


                                                                                                                               I
 JOHNSON CONTROLS SECURITY SOLUTIONS
1371967                                                                                    Purpose                                      Date                 Amount
                                                                                             (C)                                         (D )                  (E)
PITTSBURGH                                           Total Itemized Transactions with this Payee/Payer
PA                                                   Total Non-Itemized Transactions with this Payee/Payer                                                             $15,49e
15250-7967                                           rrotal of All Transactions with this Payee/Payer for This Schedule                                                $15,49e
                     Type or Classification
                              (B)
SECURITY SYSTEM
                      Name and Address
                                                                                                                                                   APPENDIX P. 43
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                              41/52
11/11/22, 11:14 AM                                                                                      509-620 (LM2) 03/31/2022
                           (A)
 KONICA MINOLTA PREMIER FINANCE
 10571
                                     Case 4:22-cv-00343-Y Document 59-1
                                                                                            (C)
                                                                                                Filed 11/22/22
                                                                                          Purpose

                                                    Total Itemized Transactions with this Payee/Payer
                                                                                                                                     I
                                                                                                                                Page 44 of 59 PageID
                                                                                                                                              Date
                                                                                                                                                (D)
                                                                                                                                                     1632           Amount
                                                                                                                                                                      (E)

                                                    Total Non-Itemized Transactions with this Payee/Payer                                                                    $35,71 I
!ATLANTA                                            rTotal of All Transactions with this Payee/Payer for This Schedule                                                       $35,717
IGA
 30348-5710
                  Type or Classification
                           (B)
 COPIER COMPANY
                   Name and Address                                                       Purpose                                              Date                 Amount
                           (A)                                                              (C)                                                 (D)                   (E )
 MARKITPLACE                                        POSTAGE-STATEMENTS                                                                      04/01/2021                        $4,51,
 1589                                               POSTAGE-STATEMENTS                                                                      05/01/2021                        $4,634
                                                    POSTAGE-STATEMENTS                                                                      06/01/2021                        $4,68(
!COLLEYVILLE                                        POSTAGE-STATEMENTS                                                                      07/01/2021                        $4,341
rrx                                                 POSTAGE-STATEMENTS                                                                      08/01/2021                        $4,45�
 76034                                              POSTAGE-STATEMENTS                                                                      09/01/2021                        $4,48'1
                  Type or Classification            POSTAGE-STATEMENTS                                                                      10/01/2021                        $4,40E
                           (B)                      POSTAGE-STATEMENTS                                                                      11/01/2021                        $4,35(
 MAIL SERVICE                                       POSTAGE-STATEMENTS                                                                      12/01/2021                        $4,34(
                                                    POSTAGE-STATEMENTS                                                                      01/01/2022                        $7,37,
                                                    POSTAGE-STATEMENTS                                                                      02/0 1/2022                       $4,40�
                                                    POSTAGE-STATEMENTS                                                                      03/01/2022                        $4,69E
                                                    rTotal Itemized Transactions with this Payee/Payer                                                                       $56,67E
                                                    Total Non-Itemized Transactions with this Payee/Payer
                                                    Total of All Transactions with this Payee/Payer for This Schedule                                                        $56,67E
                   Name and Address                                                      Purpose                                               Date                 Amount
                           (A)                                                              (C)                                                 (D)                   (E )
 MITEL                                              HQ TELEPHONE                                                                            04/01/2021                       $12,39,
153230                                              HQ TELEPHONE                                                                            05/01/2021                        $6, 15,
                                                    HQ TELEPHONE                                                                            06/01/2021                        $6,15,
 PHOENIX                                            HQ TELEPHONE                                                                            07/01/2021                        $6,28,
IAZ                                                 HQ TELEPHONE                                                                            08/01/2021                        $6,28�
 85072                                              HQ TELEPHONE                                                                            09/01/2021                        $6,28E
                  Type or Classification            HQ TELEPHONE                                                                            10/01/2021                        $6,28,
                           (B)                      HQ TELEPHONE                                                                            11/01/2021                        $6,28(
 PHONE SERVICE                                      HQ TELEPHONE                                                                            12/01/2021                        $6,27f
                                                    HQ TELEPHONE                                                                            01/01/2022                        $6,407
                                                    HQ TELEPHONE                                                                            02/01/2022                        $6,40,
                                                    rTotal Itemized Transactions with this Payee/Payer                                                                       $75,197
                                                    Total Non-Itemized Transactions with this Payee/Payer
                                                    Total of All Transactions with this Payee/Payer for This Schedule                                                        $75,19,
                   Name and Address
                           (A)
 NORTH ATTLE BORO JEWELRY COMPANY                                                         Purpose                                              Date                 Amount
                                                                                                 (C)                                            (D)                   (E )
112 B ANK STREET
                                                           19/11 PINS                                                                       08/01/2021                       $25,051
!ATTLE BORO
MA                                                          Total Itemized Transactions with this Payee/Payer                                                                $25,051
07003                                                       Total Non-Itemized Transactions with this Payee/Payer
                 Type or Classification                     Iotal of All Transactions with this Payee/Payer for This Schedule                                                $25,051
                          (B)
PROMOTIONAL PRINTING SUPPLIER
                  Name and Address                                                             Purpose                                         Date                 Amount
                          (A)                                                                     (C)                                           (D)                   (E )
ONE CLICK POLITICS                                          Total Itemized Transactions with this Payee/Payer
                                                                                                                                                          APPENDIX P. 44
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                    42/52
11/11/22, 11:14 AM                                                                                 509-620 (LM2) 03/31/2022
1 NWACKER DRIVE SUITE 3600

!CHICAGO
                                       Case 4:22-cv-00343-Y Document 59-1    Filed 11/22/22
                                                                       Purpose
                                                                                             (C)
                                                      Total Non-Itemized Transactions with this Payee/Payer
                                                                                                                                I
                                                                                                                           Page 45 of 59 PageID
                                                                                                                                         Date
                                                                                                                                          (D)
                                                                                                                                                1633          Amount
                                                                                                                                                                (E)
                                                                                                                                                                       $12,00(
 IL                                                   Total of All Transactions with this Payee/Payer for This Schedule                                                $12,00(
 60601
                     Type or Classification
                              (B)
SUBSCRIPTION
                 Name and Address
                        (A)


                                                                                                                                I
 PITNEY BOWES GLOBAL FINANCIAL
1371967                                                                                     Purpose                                      Date                 Amount
                                                                                              (C)                                         (D)                   (E)
PITTSBURGH                                            Total Itemized Transactions with this Payee/Payer
PA                                                    Total Non-Itemized Transactions with this Payee/Payer                                                            $17,76E
15250-7967                                            rrotal of All Transactions with this Payee/Payer for This Schedule                                               $17,76E
                Type or Classification
                         (B)
 POSTAGE EQUIPMENT
                 Name and Address
                         (A)


                                                                                                                                I
 PURCHASE POWER
13718774                                                                                   Purpose                                       Date                 Amount
                                                                                             (C)                                          (D)                   (E)
PITTSBURGH                                            rrotal Itemized Transactions with this Payee/Payer
PA                                                    rTotal Non-Itemized Transactions with this Payee/Payer                                                           $37,33,
15250-7967                                            Total of All Transactions with this Payee/Payer for This Schedule                                                $37,33,
                 Type or Classification
                          (B)
POSTAGE METER/SHIPPING COMPANY
                  Name and Address
                          (A)


                                                                                                                                I
REILLY ECHOLS PRINTING INC
152358                                                                                     Purpose                                       Date                 Amount
                                                                                             (C)                                          (D)                   (E)
DALLAS                                                Total Itemized Transactions with this Payee/Payer
rrx                                                   Total Non-Itemized Transactions with this Payee/Payer                                                             $5,94(
75315-2358                                            Total of All Transactions with this Payee/Payer for This Schedule                                                 $5,94(
                     Type or Classification
                              (B)
PRINTING SERVICE
                      Name and Address
                             (A)


                                                                                                                                II
SCB GLOBAL LTD                                                                           Purpose                                          Date                Amount
                                                                                           (C)                                             (D)                  (E)
130 SWALKER
                                                     HQ TELEPHONE                                                                      03/01/2022                      $29,51�
!GOLDEN
ICO                                                  rrotal Itemized Transactions with this Payee/Payer                                                                $29,51�
 80401                                               rTotal Non-Itemized Transactions with this Payee/Payer
                     Type or Classification           1otal of All Transactions with this Payee/Payer for This Schedule                                                $29,51�
                              (B)
PHONE SERVICE
                 Name and Address
                        (A)
TEXAS MUTUAL INSURANCE COMPANY
                                                                                           Purpose
                                                                                              (C)
                                                      rrotal Itemized Transactions with this Payee/Payer
                                                                                                                                I        Date
                                                                                                                                          (D)
                                                                                                                                                              Amount
                                                                                                                                                                (E)

1841843                                               rrotal Non-Itemized Transactions with this Payee/Payer                                                           $11,74�
                                                      rrotal of All Transactions with this Payee/Payer for This Schedule                                               $11,74�
                                                                                                                                                    APPENDIX P. 45
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                              43/52
11/11/22, 11:14 AM                                                                                509-620 (LM2) 03/31/2022
DALLAS                                 Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22                                  Page 46 of 59 PageID 1634
rrx
r75284-1843
                 Type or Classification
                          (B)
 INSURANCE COMPANY
                  Name and Address
                          (A)


                                                                                                                               I
 THE ACOSTA LANDSCAPING
1287                                                                                       Purpose                                      Date                 Amount
                                                                                             (C)                                         (D)                   ( E)
!AZLE                                                Total Itemized Transactions with this Payee/Payer
rrx                                                  Total Non-Itemized Transactions with this Payee/Payer                                                             $7,03€
76098-0287                                           [Total of All Transactions with this Payee/Payer for This Schedule                                                $7,036
                 Type or Classification
                          (B)
 MAINTENANCE/ REPAIRS
                  Name and Address
                          (A)


                                                                                                                               I
[TIME WARNER CABLE
1223085                                                                                    Purpose                                      Date                 Amount
                                                                                             (C)                                         (D)                   ( E)
PITTSBURGH                                           [Total Itemized Transactions with this Payee/Payer
PA                                                   Total Non-Itemized Transactions with this Payee/Payer                                                            $14,88(
15251-2085                                           [Total of All Transactions with this Payee/Payer for This Schedule                                               $14,88(
                     Type or Classification
                              (B)
INTERNET
                      Name and Address
                             (A)


                                                                                                                               I
 TRIEAGLE ENERGY
1974655                                                                                    Purpose                                      Date                 Amount
                                                                                             (C)                                         (D)                   ( E)
DALLAS                                               Total Itemized Transactions with this Payee/Payer
rrx                                                  Total Non-Itemized Transactions with this Payee/Payer                                                            $10,731
r75397                                               [Total of All Transactions with this Payee/Payer for This Schedule                                               $10,731
                     Type or Classification
                              (B)
 ELECTRIC UTILITY COMPANY
                   Name and Address
                          (A)


                                                                                                                               I
 TXU ENERGY
1650638                                                                                    Purpose                                      Date                 Amount
                                                                                             (C)                                         (D)                   ( E)
DALLAS                                               Total Itemized Transactions with this Payee/Payer
rrx                                                  [Total Non-Itemized Transactions with this Payee/Payer                                                           $10,37°
75265-0638                                           [Total of All Transactions with this Payee/Payer for This Schedule                                               $10,373
                     Type or Classification
                              (B)
 ELECTRIC UTILITY COMPANY
                    Name and Address                                                    Purpose                                          Date                Amount
                           (A)                                                            (C)                                             (D)                  ( E)
 WOOD STEPHENS & O'NEIL YEAR END AUDIT/FORM 990      YEAR END AUDIT/FORM 990                                                          07/01/2021                      $15,25(
163 RIDGLEA PL STE 318                               AUDIT SERVICES AND TAXES                                                         09/01/2021                      $10,00(

FT WORTH                                             Total Itemized Transactions with this Payee/Payer                                                                $28,40(
                                                     [Total Non-Itemized Transactions with this Payee/Payer
                                                     [Total of All Transactions with this Payee/Payer for This Schedule
                                                                                                                                                   APPENDIX P. 46     $28,40(
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                             44/52
11/11/22, 11:14 AM                                                                                509-620 (LM2) 03/31/2022
rrx                                    Case 4:22-cv-00343-Y Document 59-1    Filed 11/22/22
                                                                       Purpose                                            Page 47 of 59 PageID
                                                                                                                                        Date   1635          Amount
76116                                                                                      (C)                                            (D)                  (E)
                     Type or Classification           FORMER OFFICERS REVIEW                                                          12/01/2021                         $65(
                              (B)                     AGENCY FEE AUDIT                                                                03/01/2022                       $2,50(
CPA FIRM                                              Total Itemized Transactions with this Payee/Payer                                                               $28,40(
                                                      Total Non-Itemized Transactions with this Payee/Payer
                                                      Total of All Transactions with this Payee/Payer for This Schedule                                               $28,40(
                 Name and Address
                        (A)


                                                                                                                               I
 XO COMMUNICATIONS
18851 SANDY PKWY                                                                           Purpose                                      Date                 Amount
                                                                                             (C)                                         (D)                   (E)
!SANDY                                               Total Itemized Transactions with this Payee/Payer
 UT                                                  rrotal Non-Itemized Transactions with this Payee/Payer                                                           $12,95€
 84070                                               rrotal of All Transactions with this Payee/Payer for This Schedule                                               $12,95€
                 Type or Classification
                          (B)
TELEPHONE COMPANY
                  Name and Address
                          (A)


                                                                                                                               I
ZEEK INTERACTIVE
                                                                                           Purpose                                      Date                 Amount
 18685 MAIN STREET                                                                           (C)                                         (D)                   (E)
 HUNTINGTON BEACH                                    Total Itemized Transactions with this Payee/Payer
ICA                                                  Total Non-Itemized Transactions with this Payee/Payer                                                            $10,98E
 92648                                               rrotal of All Transactions with this Payee/Payer for This Schedule                                               $10,98E
                   Type or Classification
                            (B)
!WEB DELELOPMENT

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                                   APPENDIX P. 47
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                             45/52
11/11/22, 11:14 AM                                                                         509-620 (LM2) 03/31/2022
                          Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22
SCHEDULE 19 - UNION ADMINISTRATION                                                                                 Page 48 of 59 PageID 1636         FILE NUMBER: 509-620

                      Name and Address                                          Purpose                                           Date                Amount
                             (A)                                                  (C)                                              (D)                  (E)
ALOFT                                         LODGING                                                                          04/01/2021                          $2,881
                                              LODGING                                                                          05/01/2021                          $2,07£
1301 CHISHOLM TRAIL                           LODGING                                                                          06/01/2021                          $1,34E
EULESS                                        LODGING                                                                          08/01/2021                            $76f
rrx                                           LODGING                                                                          10/01/2021                          $4,61(
76039                                         LODGING                                                                          11/01/2021                             $9E
                     Type or Classification   LODGING                                                                          01/01/2022                          $1,057
                              (B)             fTotal Itemized Transactions with this Payee/Payer                                                                  $12,83E
HOTEL                                         fTotal Non-Itemized Transactions with this Payee/Payer
                                              Total of All Transactions with this Payee/Payer for This Schedule                                                   $12,83E
                 Name and Address
                        (A)


                                                                                                                        I
BRM-EULESS POST OFFICE
                                                                                    Purpose                                      Date                 Amount
1210 N. ECTOR DR                                                                      (C)                                         (D)                   ( E)
 EULESS                                       Total Itemized Transactions with this Payee/Payer
rrx                                           fTotal Non-Itemized Transactions with this Payee/Payer                                                                $76E
r?6039                                        fTotal of All Transactions with this Payee/Payer for This Schedule                                                    $76E
                     Type or Classification
                              (B)
POSTAL SERVICE
                 Name and Address                                               Purpose                                           Date                Amount
                        (A)                                                       (C)                                              (D)                  ( E)
CORTLAND LAS COLINAS                          LODGING                                                                          04/01/2021                          $5,25£
                                              LODGING                                                                          05/01/2021                          $9,56�
1655 POMENADE PKWY                            LODGING                                                                          06/01/2021                          $9,56E
 IRVING                                       LODGING                                                                          07/01/2021                          $9,541
rrx                                           LODGING                                                                          08/01/2021                          $9,58,
75039                                         LODGING                                                                          09/01/2021                          $9,58E
                     Type or Classification   LODGING                                                                          10/01/2021                         $11,85°
                              (B)             LODGING                                                                          11/01/2021                         $11,584
APARTMENTS                                    LODGING                                                                          12/01/2021                         $11,68E
                                              LODGING                                                                          01/01/2022                         $11,73£
                                              LODGING                                                                          02/01/2022                         $27,64E
                                              LODGING                                                                          03/01/2022                         $12,147
                                              fTotal Itemized Transactions with this Payee/Payer                                                                 $139,75,
                                              fTotal Non-Itemized Transactions with this Payee/Payer
                                              Total of All Transactions with this Payee/Payer for This Schedule                                                  $139,75,
                      Name and Address                                             Purpose                                        Date                Amount
                             (A)                                                     (C)                                           (D)                  (E)
CREEKWOOD                                     LODGING                                                                          04/01/2021                          $1,801
                                              LODGING                                                                          05/01/2021                          $1,82'
14208 W PIONEER DRIVE                         LODGING                                                                          06/01/2021                          $2,59E
IRVING                                        LODGING                                                                          07/01/2021                          $2,601
rrx                                           LODGING                                                                          08/01/2021                          $2,55E
r?5061                                        LODGING                                                                          09/01/2021                          $2,54£
                     Type or Classification   fTotal Itemized Transactions with this Payee/Payer                                                                  $13,92E
                              (B)             Total Non-Itemized Transactions with this Payee/Payer
APARTMENTS                                    Total of All Transactions with this Payee/Payer for This Schedule                                                   $13,92E
                      Name and Address                                             Purpose                                       Date                 Amount
                             (A)                                                     (C)                                          (D)                   (E)
EMBASSY SUITES
                                                                                                                                            APPENDIX P. 48
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                         46/52
11/11/22, 11:14 AM                                                                                 509-620 (LM2) 03/31/2022

12401 BASS PRO DRIVE
!GRAPEVINE
                                       Case 4:22-cv-00343-Y Document 59-1
                                                     IADR TRAINING
                                                                             Filed 11/22/22
                                                                       Purpose
                                                                                            (C)                                 I
                                                                                                                           Page 49 of 59 PageID
                                                                                                                                         Date
                                                                                                                                           (D)
                                                                                                                                                1637
                                                                                                                                       08/01/2021
                                                                                                                                                              Amount
                                                                                                                                                                (E)
                                                                                                                                                                        $28,26(
rrx                                                  rrotal Itemized Transactions with this Payee/Payer                                                                 $28,26(
 76051                                               rTotal Non-Itemized Transactions with this Payee/Payer
                  Type or Classification             Total of All Transactions with this Payee/Payer for This Schedule                                                  $28,26(
                           (B)
 HOTEL
                   Name and Address                                                      Purpose                                          Date                Amount
                           (A)                                                             (C)                                             (D)                  (E)
 MARRIOTT BUSINESS SERVICES                           LODGING                                                                          05/01/2021                          $30i
1402642                                               LODGING                                                                          06/01/2021                       $19,58E
                                                      LODGING                                                                          07/01/2021                        $8,70�
!ATLANTA                                              LODGING                                                                          08/01/2021                        $2,559
IGA                                                   LODGING                                                                          09/01/2021                       $16,89(
 30384-2842                                           LODGING                                                                          10/01/2021                        $5,m
                     Type or Classification           LODGING                                                                          11/01/2021                        $9,007
                              (B)                     LODGING                                                                          12/01/2021                        $9,51�
HOTEL                                                 LODGING                                                                          01/01/2022                       $14,53E
                                                      LODGING                                                                          02/01/2022                       $15,28(
                                                      LODGING                                                                          03/01/2022                       $16,91,
                                                     12022 SPRING CONVENTION                                                           03/01/2022                       $60,1lJ.<I
                                                      Total Itemized Transactions with this Payee/Payer                                                                $178,52,
                                                      Total Non-Itemized Transactions with this Payee/Payer                                                             $44,931
                                                     rrotal of All Transactions with this Payee/Payer for This Schedule                                                $223,45�
                  Name and Address
                         (A)


                                                                                                                                I
 MARRIOTT DALLAS LAS COLINA$                                                             Purpose                                          Date                Amount
                                                                                           (C)                                             (D)                  (E)
1223 WEST LAS COLINA$ BLVD
                                                      2021 FALL CONVENTION                                                             10/01/2021                       $67,21(
 IRVING
                                                      rrotal Itemized Transactions with this Payee/Payer                                                                $67,21(
rrx
 75039                                                rrotal Non-Itemized Transactions with this Payee/Payer
                  Type or Classification              Total of All Transactions with this Payee/Payer for This Schedule                                                 $67,21(
                           (B)
 HOTEL
                   Name and Address                                                      Purpose                                          Date                Amount
                           (A)                                                             (C)                                             (D)                  (E)
 TEXICAN COURT                                        LODGING                                                                          04/01/2021                         $2,211
                                                      LODGING                                                                          05/01/2021                           $90E
 501 WEST LAS COLINA$ BLVD                            LODGING                                                                          07/01/2021                         $1,654
 IRVING                                               LODGING                                                                          08/01/2021                           $101
rrx                                                   LODGING                                                                          10/01/2021                         $1,20€
rT5039                                                LODGING                                                                          11/01/2021                           $101
                  Type or Classification              LODGING                                                                          02/01/2022                           $67�
                           (B)                        LODGING                                                                          03/01/2022                         $1,921
 HOTEL                                                rrotal Itemized Transactions with this Payee/Payer                                                                  $8,77�
                                                      rTotal Non-Itemized Transactions with this Payee/Payer
                                                      Total of All Transactions with this Payee/Payer for This Schedule                                                   $8,77�
                 Name and Address                                                           Purpose                                       Date                Amount
                        (A)                                                                   (C)                                          (D)                  (E)
TRUE BALLOT ELECTIONS OFFICERS                        BASE ELECTIONS                                                                   05/01/2021                       $38,63E
                                                      Total Itemized Transactions with this Payee/Payer                                                                 $38,63E
3 BETHESDA METRO CTR #700                             Total Non-Itemized Transactions with this Payee/Payer
BETHESDA                                              rTotal of All Transactions with this Payee/Payer for This Schedule                                                $38,63E
MD
20814
                                                                                                                                                    APPENDIX P. 49
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                47/52
11/11/22, 11:14 AM                                                          509-620 (LM2) 03/31/2022
                                    Case 4:22-cv-00343-Y
                 Type or Classification                    Document 59-1 Filed 11/22/22        Page 50 of 59 PageID 1638
                          (B)
ELECTION BALLOTING

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                  APPENDIX P. 50
https://olmsapps.dol.gov/query/orgReport.do                                                                                        48/52
11/11/22, 11:14 AM                                                               509-620 (LM2) 03/31/2022
SCHEDULE 20 - BENEFITS                     Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22        Page 51 of 59 PageID 1639         FILE NUMBER: 509-620

                                                    Description                                             To Whom Paid                 Amount
                                                       (A)                                                       (B)                       (C)
STAFF - HEALTH INSURANCE / DENTAL                                                BLUE CROSS BLUE SHIELD                                           $471,54i
STAFF - LIFE INSURANCE                                                           LINCOLN NATIONAL INSURANCE                                           $72�
STAFF - DISABILITY                                                               LINCOLN NATIONAL INSURANCE                                        $25,50<!
STAFF - VISION                                                                   VISION SERVICE PLAN                                                $4,30<!
OTHER - HEALTH/LIFE INSURANCE                                                    AMERICAN AIRLINES BENEFITS SERVICE CENTER                         $24,817
STAFF/OFFICERS RETIREMENT                                                        ADP                                                              $116,84,
Total of all lines above (Total will be automatically entered in Item 55.)                                                                        $643,73f

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                             APPENDIX P. 51
https://olmsapps.dol.gov/query/orgReport.do                                                                                                          4 9/52
11/11/22, 11:14 AM                                                                                            509-620 (LM2) 03/31/2022
SIGNATURE PAGE                          Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22                                             Page 52 of 59 PageID 1640                                     FILE NUMBER: 509-620

Each of the undersigned, duly authorized officers of the above labor organization, declares, under penalty of perjury and other applicable penalties of law, that all of the information submitted in this report (including
information contained in any accompanying documents) has been examined by the signatory and is, to the best of the undersigned individual's knowledge and belief, true, correct and complete (See Section Von penalties
in the instructions.)


!SIGNED:                         Joshua D Black                                                               SIGNED:                          Joshua D Black
 DATE:                           Aug 25, 2022                                                                 DATE:                            Aug 25, 2022
 CONTACT INFO:                   817-707-5096                                                                 CONTACT INFO:                    817-707-5096
rTITLE:                                                                                                       TITLE:

Form LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                                                                          APPENDIX P. 52
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                                                                            50/52
11/11/22, 11 : 1 4 AM                                                                             509-620 (LM2) 03/31/2022
69. ADDITIONAL INFORMATIONCase 4:22-cv-00343-Y Document 59-1 Filed 11/22/22
                          SUMMARY                                                                                    Page 53 of 59 PageID 1641   FILE NUMBER: 509-620


Question 11 (a): Association of Professional Flight Attendants PAC filed with the FEC

Question 12: The audit was performed by an outside accounting firm. Wood, Stephens & O'Neil LLP

Schedule 1, Row1:

Schedule 1, Row1:

Schedule 2, Row1:

Schedule 2, Row1:

Schedule 8, Row1:

Schedule 8, Row1:

Schedule 8, Row2:

Schedule 8, Row2:

Schedule 8, Row3:

Schedule 8, Row3:

Schedule 8, Row4:

Schedule 8, Row4:

Schedule 8, Row5:

Schedule 8, Row5:

Schedule 8, Row6:

Schedule 8, Row6:

Schedule 8, Row?:

Schedule 8, Row?:

Schedule 8, Row8:

Schedule 8, Row8:

Schedule 8, Row10:

Schedule 8, Row10:

Schedule 8, Row9:

Schedule 8, Row9:

Schedule 8, Row11:

Schedule 8, Row11:

                                                                                                                                        APPENDIX P. 53
https://olmsapps.dol.gov/query/orgReport.do                                                                                                                     51/52
11/11/22, 11:14 AM                                                         509-620 (LM2) 03/31/2022
Schedule 9, Row1:                    Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22        Page 54 of 59 PageID 1642
Schedule 9, Row1:

Schedule 13, Row1:

Schedule 13, Row1:

Schedule 13, Row1:

Schedule 13, Row1:Active dues-paying members
Fonm LM-2 (Revised 2010); (Tech. Rev. 2/2013)




                                                                                                                 APPENDIX P. 54
hllps://olmsapps.dol.gov/query/orgReport.do                                                                                       52/52
11/21/22, 10:17 PM        INTERNATIONAL ASSOCIATION OF HEAT & FROST INSULATORS v. DOERMAN, Dist. Court, SD Ohio 2005 - Google Scholar
            Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22                           Page 55 of 59 PageID 1643
                                                                     (2005)

              INTERNATIONAL ASSOCIATION OF HEAT & FROST INSULATORS AND ASBESTOS
                                                   WORKERS, Local #8, Plaintiff,
                                                              v.
                                                   KEITH DOERMAN, Defendant.

                                                        Civil Action No. 1:03-cv-620.

                                      United States District Court, S.D. Ohio, Western Division.

                                                                April 18, 2005.


           ORDER

           TIMOTHY HOGAN, Magistrate Judge.

           Plaintiff, International Association of Heat & Frost Insulators and Asbestos Workers, Local #8 (Asbestos
           Workers #8), brings this action pursuant to Section 301 of the Labor Management Relations Act, 29 U.S.C.
           § 185, against defendant Keith Doerman, a member of Asbestos Workers #8. This matter is before the
           Court on defendant's motion to dismiss (Doc. 24), plaintiff's response thereto (Doc. 28), and defendant's
           reply memorandum. (Doc. 29).

           Plaintiff's complaint alleges claims of breach of the labor organization's constitution and by-laws and breach
           of contract under state law. The complaint alleges that defendant Doerman, in violation of the union's
           constitution and by-laws, performed work for a company which did not have a collective bargaining
           agreement with Asbestos Workers #8. An internal union hearing was held on charges against defendant for
           the alleged violation. The union's executive board determined that defendant violated the union's
           constitution and by-laws and fined him $10,000.00. The complaint alleges that defendant failed to timely
           appeal the decision and to pay the fine imposed. Plaintiff instituted this federal court action seeking a
           finding that defendant violated his contract of membership in the union by failing and refusing to pay the
           fine, judgment against defendant in the amount of $10,000.00, and an award of post-judgment interest.
           (Doc. 1).

           Defendant seeks dismissal of the complaint pursuant to Fed. R. Civ. P. 12(b)(1) for lack of federal
           jurisdiction. Plaintiff has the burden of proving jurisdiction in order to survive the motion to dismiss. See
           Madison-Hughes v. Shalala, 80 F.3d 1121, 1130 (6th Cir. 1996). Where the allegations in the complaint are
           insufficient to show that the federal court has jurisdiction over the subject matter, the motion under Rule
           12(b)(1) should be granted.

           Plaintiff contends this Court has jurisdiction pursuant to Section 301 of the Labor Management Relations
           Act, 29 U.S.C. § 185(a). That provision provides in relevant part:

                     Suits for violation of contracts between an employer and a labor organization representing
                     employees in an industry affecting commerce . . . or between any such labor organizations,
                     may be brought in any district court of the United States having jurisdiction of the parties. . . .


https://scholar.google.com/scholar_case?case=11576700292847518228&q=doerman&hl=en&as_sdt=6,44
                                                                                                APPENDIX P. 55                    1/5
11/21/22, 10:17 PM        INTERNATIONAL ASSOCIATION OF HEAT & FROST INSULATORS v. DOERMAN, Dist. Court, SD Ohio 2005 - Google Scholar
           Case 4:22-cv-00343-Y Document 59-1 Filed 11/22/22
           29 U.S.C. § 185(a).
                                                                                        Page 56 of 59 PageID 1644

           Under the plain language of the statute, this Court lacks jurisdiction. Federal jurisdiction is conferred only
           upon claims of contract violations between employers and labor organizations, or between labor
           organizations, such as an international union and its locals. See Wooddell v. IBEW, 502 U.S. 93, 98 (1981)
           ("a suit properly brought under § 301 must be a suit either for violation of a contract between an employer
           and a labor organization representing employees in an industry affecting commerce or for violation of a
           contract between such labor organizations")(citing Smith v. Evening News Assn., 371 U.S. 195, 200-201
           (1962)). Defendant is neither an employer nor a labor organization. Moreover, the statute does not provide
           jurisdiction over claims brought by labor organizations against its individual members. Thus, the plain terms
           of the statute do not support jurisdiction over a labor organization seeking to recoup a fine levied against
           one of its members as in this case.

           Nevertheless, citing Plumbers and Pipefitters v. Plumbers and Pipefitters, Local 334, 452 U.S. 615 (1981)
           and Wooddell v. IBEW, 502 U.S. 93 (1981), plaintiff contends the International Union Constitution, which
           defendant is alleged to have breached, is a "contract between labor organizations" within the meaning of
           Section 301 and therefore this Court has subject matter jurisdiction over this dispute.

           In Plumbers, a local union sued the international union of which it was a part alleging a violation of the
           international constitution by the international union. The Supreme Court found federal jurisdiction under §
           301 holding that the constitution was a "contract between labor organizations" within the meaning of § 301.
           In Wooddell, the Supreme Court held that a district court's subject-matter jurisdiction under § 301 extends
           to suits by an individual union member against a local union alleging a breach of the international union's
           constitution by the local union. In that case, the plaintiff union member sued as a third party beneficiary for
           a breach by the local union of provisions of its constitution with the parent union. The Supreme Court found
           subject matter jurisdiction under section 301 reasoning:

                     [U]nion constitutions are an important form of contract between labor organizations. Members
                     of a collective-bargaining unit are often the beneficiaries of such interunion contracts, and
                     when they are, they likewise may bring suit on these contracts under § 301.

                     If they could not, unacceptable consequences could ensue. There is no doubt that IBEW could
                     sue under § 301 to enforce Local 71's contract with IBEW and there is no doubt that such a
                     suit would be governed by federal law. If suit by an employee to enforce an interunion contract
                     is not authorized by § 301 and the employee is remitted to state court and to state law, it is
                     plain that the same contract terms might be given different meanings based solely on the
                     identity of the party. This would exert the disruptive influence our cases have spoken of.

           502 U.S. at 101-102.

           Plaintiff contends that the rationale of Wooddell, the avoidance of inconsistent interpretations of contract
           terms under state and federal law, compels a finding of federal jurisdiction in this matter where a local union
           sues an individual union member alleging a breach of the International Union's Constitution. However,
           plaintiff has not cited any cases in which a federal court has extended Wooddell to allow a federal action to
           enforce a fine against an individual union member where the individual member is alleged to have
           breached the international union's constitution. Rather, the courts which have addressed this issue have
           held that federal jurisdiction does not extend to such suits because the dispute in question does not involve
           a dispute "between labor organizations" within the meaning of § 301. See International Brotherhood of
           Electrical Workers, Local Union No. 53 v. McPhetridge, 2004 W.L. 3254739, *2 (W.D. Mo. 2004);
https://scholar.google.com/scholar_case?case=11576700292847518228&q=doerman&hl=en&as_sdt=6,44
                                                                                                APPENDIX P. 56                    2/5
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           International Brotherhood of Electrical Workers, Local 640 v. Dueck, 148 F. Supp.2d 955, 963 (D. Ariz.
           2000); International Union of Operating Engineers Local Union No. 17 v. Lexo, 918 F. Supp. 69, 73-74
           (W.D.N.Y. 1995); Baltimore Mailers Union No. 888 v. Moore, 881 F. Supp. 217, 218 (D. Md. 1995). For
           example, in Moore, the Court held that § 301 does not permit a federal court action by a union against
           individual union members for back dues. Id. The Court stated:

                     Wooddell . . . only goes down a one-way street. That is, it was uniformly held before Wooddell
                     was decided that Section 301 does not confer federal jurisdiction over suits seeking contract
                     damages against an individual member for breach of, e.g., a union constitution. Bldg. Material
                     & D. TR. DR., Local 420 v. Traweek, 867 F.2d 500, 508 (9th Cir. 1989). The same result has
                     been reached post-Wooddell. Shea v. McCarthy, 953 F.2d 29, 32 (2d Cir. 1992) (holding that
                     only equitable claims may be asserted against individual members in suit by union for breach
                     of union constitution).

           Moore, 881 F. Supp. at 218. Likewise, in Dueck, the court distinguished Wooddell from a case where the
           union sued an individual member in state court to collect a fine for a breach of the membership agreement,
           and the defendant member removed the action to federal court:

                     Unlike the plaintiff in Wooddell, Defendant has not charged that any breach of IBEW's
                     Constitution violates a contract between two labor organizations. See also Commer v. District
                     Council 37, Local 375, 990 F. Supp. 311, 321 n. 13 (S.D.N.Y. 1998) ("The Supreme Court in
                     Wooddell held that the subject-matter jurisdiction conferred on the district courts by [Section
                     301] of the LMRA extends to suits on unions constitutions brought by individual union
                     members. The suits at issue, however, were grounded on contractual obligations among
                     unions found within the union constitution. Wooddell does not apply, as here, to claims where
                     the purported contractual agreement is between the individual member and the union."). . . . In
                     contrast, Defendant has not raised any argument that this case involves a question of whether
                     Local 640 violated any contractual agreement with IBEW encompassed in the IBEW
                     Constitution.

           International Broth. of Elec. Workers, Local 640 v. Dueck, 148 F. Supp.2d 955, 963 (D. Ariz. 2000).

           The complaint in the instant case, unlike Wooddell, does not require any determination of whether the local
           union violated any contractual obligation owed to the parent union as contained in the International
           Constitution. Rather, the issue raised by the complaint in this case is whether defendant, a union member,
           violated the provisions of the International Constitution. Nor does the dispute in the instant case require this
           Court to interpret the terms of the International Union's Contract or the contractual obligations between the
           International Union and Asbestos Workers #8, which would implicate the Supreme Court's concern for
           "unacceptable consequences" resulting from inconsistent interpretations of individual contract terms "under
           state and federal law [which] would inevitably exert a disruptive influence upon both the negotiation and
           administration of collective agreements." Wooddell, 502 U.S. at 101, citation omitted. While plaintiff goes to
           great lengths to explain the substantive provisions of the International Union's Contract by which defendant
           is allegedly bound (Doc. 28, 6-8), the dispute in this case does not require an interpretation of any of those
           provisions, the basis under Wooddell for exercising jurisdiction under § 301 over actions by members as
           beneficiaries under union constitutions. Plaintiff does not request the Court to interpret or otherwise
           consider any of the underlying breaches of the International Constitution, but only to enforce the fine
           already determined.


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           The only breach of contract alleged by plaintiff is defendant's breach of the alleged obligation to pay the
           $10,000.00 fine imposed by the union at its own internal hearing. By plaintiff's own assertion, the only
           determination for this Court is whether the fine imposed upon defendant Doerman was "reasonable." (Doc.
           28 at 11). State law governs the question of reasonableness of union fines and state courts are the proper
           forum to assess the reasonableness of union fines. NLRB v. Boeing Co., 412 U.S. 67, 74 (1973). See also
           Local Lodge 1297, International Assn. of Machinists & Aerospace Workers v. Allen, 22 Ohio St.3d 228, 232,
           490 N.E.2d 865, 869 (1986). The Ohio state courts routinely exercise jurisdiction over the collection of
           union fines. See, e.g., International Brotherhood of Electrical Workers, Local Union No. 8 v. Gromnicki, 139
           Ohio App.3d 641, 745 N.E.2d 449 (2000); International Brotherhood of Electrical Workers v. Smith, 76 Ohio
           App.3d 652, 602 N.E.2d 782 (Ohio App. 6 Dist. 1992); Local Union No. 4320, Comm. Workers of America
           v. Carroll, 70 Ohio App.3d 837, 592 N.E.2d 894 (Ohio App. 10 Dist. 1990); International Brotherhood of
           Electrical Workers Local Union 573 v. Smith, 127 Ohio Misc.2d 77, 805 N.E.2d 1153 (Trumbull Com. Pls.
           2003). "[I]t is clear that lawsuits brought by unions to collect fines imposed on union members for violations
           of union rules constitute actions for breach of contract and are governed by state contract law principles.
           Accordingly, such actions do not arise under federal law and are properly brought in state court." Dueck,
           148 F. Supp.2d at 961, citations omitted. See McPhetridge, 2004 W.L. 3254739, *2.

           Moreover, plaintiff's complaint is barred by Section 301(b) of the Labor Management Relations Act because
           it is a suit seeking damages against an individual union member. Section 301(b) provides:

                     Any labor organization which represents employees in an industry affecting commerce as
                     defined in this chapter and any employer whose activities affect commerce as defined in this
                     chapter shall be bound by the acts of its agents. Any such labor organization may sue or be
                     sued as an entity and in behalf of the employees whom it represents in the courts of the United
                     States. Any money judgment against a labor organization in a district court of the United
                     States shall be enforceable only against the organization as an entity and against its assets,
                     and shall not be enforceable against any individual member or his assets.

           29 U.S.C. § 185(b). In Complete Auto Transit, Inc. v. Reis, 451 U.S. 401 (1981), the Supreme Court held
           that section 301(b) does not sanction damages actions against individual employees for violating the no-
           strike provision of a collective-bargaining agreement, whether or not their union participated in or
           authorized the strike. See Id. at 407, 415-16. While acknowledging that § 301(b) prohibits actions for
           damages against individual union members, plaintiff nevertheless contends that section 301(b) does not
           automatically deprive the court of jurisdiction over cases involving an individual member alleged to have
           violated a union constitution. (Doc. 28 at 9). However, the cases cited by plaintiff in support of its argument
           permitting actions against individuals involved only equitable claims under section 301 against individual
           union officers or agents arising from their local union duties in violation of union constitutions, and not the
           recovery of damages from any individual union members. See International Brotherhood of Boilermakers v.
           Olympic Plating Indus., Inc., 870 F.2d 1085, 1088 (6th Cir.1989)(court has jurisdiction to enforce a
           trusteeship imposed by a labor organization over a subordinate affiliate); International Union of Electronic,
           Electrical, Salaried, Machine & Furniture Workers, AFL-CIO v. Statham, 97 F.3d 1416 (11th Cir. 1996)(§
           301 jurisdiction found over contract suits "between any . . . labor organizations" in union's claim against
           former union officers for breach of union constitution where union expressly limited its claim to seek only
           equitable relief); Shea v. McCarthy, 953 F.2d 29, 32 (2d Cir. 1992)(individual defendant union officer may be
           sued alone without also joining a union as defendant under section 185(a) for violating the union
           constitution, as long as the relief sought is equitable, not legal).


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           Finally, plaintiff contends its lawsuit to enforce the union executive board's fine against defendant is more
           akin to an action to enforce an arbitration award than to a suit for money damages which is barred. District
           courts have jurisdiction to specifically enforce arbitration clauses found in collective bargaining agreements.
           See Textile Workers Union of America v. Lincoln Mills of Alabama, 353 U.S. 448 (1957)(district court had
           authority under § 301 to order an employer to comply with the grievance arbitration provisions of a
           collective bargaining agreement). However, the Court would still lack federal jurisdiction under § 301 to
           enforce an arbitration award because such a suit amounts to action for damages which is barred under the
           Supreme Court's decision in Reis. See United Food and Commercial Workers Local 951, AFL-CIO and
           CLC v. Mulder, 31 F.3d 365, 370 (6th Cir. 1994), cert. denied, 513 U.S. 1148 (1995).

           Plaintiff has failed to meet its burden of demonstrating subject matter jurisdiction under section 301.
           Accordingly, defendant's motion to dismiss is hereby GRANTED.

           IT IS SO ORDERED.


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